Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 1 of 109 PageID #: 142880




               IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF WEST VIRGINIA
                           CHARLESTON DIVISION

 IN RE: C.R. BARD, INC., PELVIC REPAIR                          MDL NO. 2187
 SYSTEM PRODUCTS LIABILITY LITIGATION

 IN RE: AMERICAN MEDICAL SYSTEMS, INC.                          MDL No. 2325
 PELVIC REPAIR SYSTEMS PRODUCTS
 LIABIILITY LITIGATION

 IN RE: BOSTON SCIENTIFIC CORP., PELVIC                         MDL No. 2326
 REPAIR SYSTEM PRODUCTS LIABILITY LITIGATION

 IN RE: ETHICON, INC., PELVIC REPAIR SYSTEM                     MDL No. 2327
 PRODUCTS LIABILITY LITIGATION

 IN RE: COLOPLAST CORP., PELVIC REPAIR                          MDL No. 2387
 SYSTEM PRODUCTS LIABILITY LITIGATION

 IN RE: COOK MEDICAL, INC, PELVIC REPAIR                        MDL No. 2440
 SYSTEM PRODUCTS LIABILITY LITIGATION

 IN RE NEOMEDIC PELVIC REPAIR SYSTEM                            MDL No. 2511
 PRODUCT LIABILITY LITIGATION



 This Document Relates To All Cases




  Recommended Allocation of Common Benefit Fees and the Reimbursement of Shared
Expenses and Held Costs by the Court Appointed External Review Specialist for the Period
                  of December 21, 2016, Through December 30, 2020
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 2 of 109 PageID #: 142881




       COMES NOW, The Honorable Daniel J. Stack, Retired, as External Review Specialist 1

(as identified in the Order Granting Motion to Appoint the Hon. Daniel J. Stack Ret., as External

Review Specialist (the “Appointment Order”) and in accordance with the Fee Committee Protocol 2

(the “Protocol”) issue my Recommended Allocation in accordance with Section F of the Protocol

as follows:

       The Court having entered its Memorandum Opinion and Order (Re: Petition for an Award

of Common Benefit Attorneys’ Fees and Expenses) (S.D. W. Va. Jan. 30, 2019), which was

entered in each of the seven MDLs, (hereinafter referred to as “Fee Petition Order”) establishing

the common benefit fund, this Recommended Allocation sets forth the basis for my

recommendation that the Court award payment from the common benefit fund for payment of fees

in the percentages shown in Exhibit 1 to this Recommended Allocation and award payment of

costs from the common benefit fund in the amounts shown in Exhibit 2 to this Recommended

Allocation.

       This Recommended Allocation is the second of two allocations ordered by the Court. The

first allocation addressed time and expenses incurred through December 21, 2016, which I will

refer to as the “First Round.” This Recommended Allocation is addressed only to time and

expenses from December 21, 2016, through December 30, 2020, which I will call the “Second

Round.” In making this Recommended Allocation, I am relying on the same information and

documentation that I relied upon in making my Recommended Allocation in the First Round and


1
 Appointed by Court Order entered October 13, 2017: Bard MDL 2187 [ECF No. 4663], AMS MDL 2325
[ECF No. 5112], BSC MDL 2326 [ECF No. 4422], Ethicon MDL 2327 [ECF No. 4783], Cook MDL 2440
[ECF No. 592], Coloplast MDL 2387 [ECF No. 1572], Neomedic MDL 2511 [ECF No. 177].
2
 Bard MDL 2187 PTO 257 [ECF No. 4020], AMS MDL 2325 PTO 244 [ECF No. 4346], BSC MDL 2326
PTO 166 [ECF No. 3968], Ethicon MDL 2327 PTO 262 [ECF No. 4044], Cook MDL 2440 PTO 81 [ECF
No. 503], Coloplast MDL 2387 PTO 133 [ECF No. 1437], Neomedic MDL 2511 PTO 38 [ECF No. 172].


                                              -2-
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 3 of 109 PageID #: 142882




I am utilizing the same methodology that I employed in the First Round. That same methodology

resulted in my Recommended Allocation in the First Round, which the Court found to be fair and

reasonable and which was adopted and incorporated into the Court’s Allocation Order and

subsequently the Court’s Judgment on the Allocation Order. I am aware that there were multiple

appeals from the Court’s Allocation Order, each of which were dismissed by the U.S. Court of

Appeals for the Fourth Circuit.

        In making this Recommended Allocation, I rely upon the time and expense submissions

made by firms seeking common benefit funds and/or expenses (hereinafter may be referred to as

“applicant firms”), the Common Benefit Orders of this Court, the Final Written Recommendation

of the Common Benefit Fee and Cost Committee, including the Declaration of Henry Garrard and

the other material supplied therewith, 3 information delivered to me by the Chairman of the

Common Benefit Fee and Cost Committee (the “FCC”) regarding the FCC’s observations and

deliberations, written correspondence in the form of appeals from applicant firms, and applicable

law. 4 In delivering this Recommended Allocation to the Court, I request that the FCC provide to



3
  Available to me for my evaluation of applicant firms were: (1) attorney biographies provided by applicant
firms, (2) the original time submission made by each applicant firm to the Court appointed CPA, (3) the
self-audited time submission made by each applicant firm to the Court appointed CPA, (4) the materials
provided by applicant firms including affidavits accompanying their self-audited time, (5) the letter to each
applicant firm reflecting the FCC’s initial review of time and expense submissions including Exhibits
identifying time and expenses found not compensable by the FCC at that time, (6) the materials provided
by applicant firms in response to the FCC’s initial review including affidavits provided by applicant firms,
(7) the expense submissions provided by each applicant firm, where applicable, (8) the letter to each
applicant firm reflecting FCC’s revised time and expense review after the FCC’s consideration of the
materials received from applicant firms including the Exhibits thereto, (9) the transcripts of the meetings
conducted among the FCC, myself and those firms seeking an opportunity to be heard by the FCC, (10) the
FCC’s Preliminary Written Recommendation delivered to each firm and the two Exhibits attached thereto,
and (11) the FCC’s Final Written Recommendation including all Exhibits.
4
  A copy of the Final Written Recommendation of the Common Benefit Fee and Cost Committee
Concerning the Allocation of Common Benefit Fees and the Reimbursement of Shared Expenses and Held
Costs for the Period of December 21, 2016, through December 30, 2020, delivered by the FCC which
includes the Declaration of Henry Garrard is attached hereto as Exhibit 3 and is incorporated by reference.

                                                    -3-
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 4 of 109 PageID #: 142883




the Court for its consideration, in camera, all of the same materials that were made available to

me.



I.     BACKGROUND

       For the sake of brevity and avoidance of duplication, I am incorporating the Background

section of my prior Recommended Allocation from the First Round in its entirety.                 That

Background remains unchanged. As set forth in the FCC’s Final Written Recommendation and in

the Declaration of Henry Garrard, Plaintiffs’ leadership continued their prior work in moving the

MDLs toward conclusion during the time period applicable to this Recommended Allocation for

the Second Round (December 21, 2016, through December 30, 2020). MDL leadership continued

to support firms in the wave process by identifying deposition transcripts, relevant documents in

support of liability, and briefing and other materials for use by counsel in preparation of individual

cases for trial. MDL leadership also continued to provide the support and materials associated

with plaintiffs’ expert witnesses so that cases placed in the MDL Court’s wave process and

ultimately those cases remanded for trial could satisfy the expert requirements.

       While the litigation against the majority of products and defendants was fully mature prior

to the Second Round time period, there were certain instances where the development of the

litigation involving certain products and defendants continued. For example, the development of

the general liability case regarding Coloplast products continued during the applicable time period

including corporate depositions, document review, development of expert witnesses, Daubert and

dispositive motion briefing, and depositions of defendant’s expert witnesses.             Continuing

discovery and development were also undertaken with regard to the Mullins consolidation in the

Ethicon MDL, as well as with respect to the Bard Alyte product and the AMS MiniArc product.



                                                 -4-
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 5 of 109 PageID #: 142884




       At the Court’s direction, MDL leadership continued to work to aid in the resolution of

cases in an effort to ensure that those plaintiff’s attorneys with limited numbers of cases received

the full benefit of MDL leadership’s knowledge and experience when negotiating the resolution

of their cases. MDL leadership appeared in West Virginia to aid in the negotiation and resolution

of individual cases for other MDL plaintiffs’ firms without charge to any plaintiff.

       Finally, the FCC members devoted significant time to the review of time and expense

submissions for the First Round through December 20, 2016. FCC members along with members

of their firms reviewed time and expense submissions, met to evaluate the merit of submissions,

prepared materials for distribution to firms and drafted pleadings in support of the Court’s Order

establishing the payment of common benefit funds including briefing on multiple appeals to the

Fourth Circuit Court of Appeals and the United States Supreme Court.              Despite multiple

challenges, the Court’s Order and allocation were upheld by the appellate courts.

       In the prior period, ending December 20, 2016, ninety-four law firms submitted more than

900,000 hours of time for common benefit consideration, and the Court-appointed FCC recognized

a total of 679,191.20 of those hours as being for common benefit. For the current period of

December 21, 2016, through December 30, 2020, (the subject of this Recommended Allocation)

the FCC received submissions from thirty-seven firms totaling more than 138,000 hours, and the

Court-appointed FCC recognized a total of 61,646.48 of those hours as being for common benefit.

       Over ninety-five percent of cases in these MDLs have reached resolution or otherwise been

dismissed, which has resulted in approximately $525,000,000 in payments into the common

benefit fund by the MDL Defendants. Approximately $490,000,000 of that amount has already

been distributed to firms pursuant to the percentages set forth in the Court’s July 25, 2019,

Allocation Order, including continuing quarterly distribution of seventy percent (70%) of funds



                                                -5-
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 6 of 109 PageID #: 142885




received into the common benefit fund each calendar quarter since January of 2020. At present,

there remains a fund of approximately $33,000,000 available for payment of common benefit time

and expenses for the Second Round period of December 21, 2016, through December 30, 2020.



II.     EXPERIENCE AND METHODOLOGY OF THIS REPORT

        A. Methodology of Review of the Work Performed

        In its execution of its duties under the Protocol, the FCC utilized several due process

safeguards. As in the First Round, the Second Round applicant firms were presented with several

opportunities to interact with the FCC in the review and evaluation of time and expense

submissions. The Second Round applicant firms were first presented the opportunity to perform

a “self-audit” of their time and expense submissions. The self-audited time and expense

submissions provided applicant firms the opportunity to clarify and correct entries prior to

consideration by the FCC. Not all applicant firms took advantage of this opportunity. 5 After the

opportunity for self-audit, the FCC then evaluated the time and expense submissions for each

applicant firm along with review of written materials provided by the applicant firms. This review

resulted in a communication sent to each applicant firm reflecting the initial review of time and

expense submissions. The applicant firms received a spreadsheet indicating those individual time

entries where the FCC found that the work was not for the common benefit and a separate

spreadsheet indicating those individual time entries where the FCC had questions regarding the

common benefit of the work performed. The applicant firms also received information identifying



5
 Some firms diligently reviewed and performed the self-audit in accordance with the Protocol while others
did not. Despite allegations by one objecting firm, Kline & Specter, I observed no evidence that any firm
was “punished” for not performing a thorough self-audit. The impact of failing to perform a thorough self-
audit arises only when a firm attempts to compare its recommended allocation against its number of hours
submitted. There was no punitive aspect of the FCC’s review of the time submissions.

                                                  -6-
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 7 of 109 PageID #: 142886




those expenses sought for reimbursement which were allowed by the FCC as common benefit and

those expenses which were disallowed by the FCC as common benefit. The FCC requested that

applicant firms respond to those individual time and expense entries identified by the FCC and

provide information that would substantiate the common benefit of the entry, thus presenting a

second opportunity for applicant firms to provide additional information for consideration by the

FCC. The FCC received those responses along with additional written materials from the applicant

firms. Pursuant to the Protocol, each applicant firm was to inform the FCC of how the firm “made

a substantial common benefit contribution to the outcome of the litigation” as follows:

       a. The consistency quantum, duration, and intensity of the firm’s commitment to the
          litigation;

       b. The level of experience, reputation, and status of each attorney and firm, including
          partner participation by the firm;

       c. The firm’s membership and/or leadership on the [PSC] and/or Executive Committee;

       d. The firm’s participation and leadership in discovery (motions, depositions);

       e. The firm’s participation and leadership in law and briefing matters;

       f. The firm’s participation and leadership in science and expert matters;

       g. The firm’s participation and leadership in document review;

       h. The firm’s activities in preparation for, support of or conduct of bellwether trials or
          other trials which impacted proceedings on a common benefit level . . . [including] an
          explanation. . . of why the Firm believes such work should be considered as common
          benefit. For example, whether and how such work benefitted the MDL plaintiffs
          generally; the status of settlements in the particular MDL in which the work was
          performed at the time such work was performed, and whether the case-specific work
          assisted in bringing about settlements with the defendant in that MDL. Each Firm
          requesting common benefit reimbursement for work done in any State Court case shall
          provide an explanation in their affidavit of why the Firm believes such work should be
          considered as common benefit;

       i. The firm’s participation and leadership in settlement negotiations, drafting of
          settlement documentation and closing papers, and administration of settlement
          agreements (excluding individual representations);


                                               -7-
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 8 of 109 PageID #: 142887




       j. Where common benefit work occurred;

       k. The . . . members of the firm [that] held leadership positions in groups that engaged in
          common benefit work (describe position and group);

       l. The firm’s participation in ongoing activities, such as the Fee and Cost Committee,
          Settlement Claims Administration, or Court-Appointed Committees and Leadership,
          which are intended to provide common benefit;

       m. [Explanation of] whether counsel in the firm were or were not involved in the litigation
          prior to the formation of the MDL, and the time and expenses incurred during such
          time period;

       n. The firm made the following, significant contributions to the funding of the litigation
          (include all assessments made to the MDL) and the amount of any sums reimbursed
          and date(s) of reimbursement;

       o. The members of the firm who were PSC members, group members, or Executive
          Committee members whose commitment to the litigation did not ebb; and

       p. The other relevant factors which the Fee Applicant requests be considered by the Court.

See Protocol at 6.

       The FCC then communicated to each of the applicant firms the FCC’s decision based upon

its review of the responsive information received from the applicant firm. The FCC invited each

applicant firm to appear for a meeting with the FCC, which is the third opportunity applicant firms

were presented to provide additional information for consideration by the FCC. Of the thirty-

seven Second Round applicant firms, four firms chose to appear before the FCC. After conducting

these meetings, the FCC prepared and delivered its Preliminary Written Recommendation.

Applicant firms were given the opportunity to object in writing to the Preliminary Written

Recommendation – their fourth opportunity to provide information and share concerns with the

FCC – and five firms chose to do so. The FCC received and evaluated those written objections in

preparing its Final Written Recommendation. Under the Protocol, applicant firms also had the

opportunity to object to the Final Written Recommendation, which was the fifth opportunity that


                                               -8-
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 9 of 109 PageID #: 142888




these firms had to present facts and argument to the FCC and to receive feedback from the FCC.

Only two of the thirty-seven Second Round applicant firms objected to the FCC’s Final Written

Recommendation.

       In preparing this Recommended Allocation, I familiarized myself with the history of this

litigation since the First Round time frame and the contributions of the applicant firms during the

Second Round time frame through review of the materials submitted by those firms. I attended an

in-person meeting with the FCC and an additional in-person meeting with the Chairperson of the

FCC to discuss the quality and value of the Second Round applicant firms’ contribution to the

common benefit. I reviewed the materials submitted by each of the Second Round applicant firms,

including the written materials, affidavits, and biographical information for attorneys seeking

common benefit reimbursement for their work. In addition, I received and considered the applicant

firms’ responses to the FCC’s initial review, as well as the two objecting applicant firms’

objections to the FCC’s Preliminary Written Recommendation and Final Written

Recommendation.

       For those four applicant firms who sought to meet with the FCC to further discuss their

contribution to the litigation following the FCC’s Initial Review of the time and expense

submissions, I attended each of their presentations to the FCC, and I considered the information

provided during these presentations in making my recommendation. As noted above, 32 of the 37

firms accepted the FCC’s Preliminary Written Recommendation without objection. While I did

not participate in the FCC’s allocation decision in their Final Written Recommendation, the

opportunity to review the applicant firms’ objections and to meet with the FCC and the

Chairperson of the FCC was informative and helpful. I also reviewed and considered the Final

Written Recommendation of the FCC, including the factual background of the common benefit



                                               -9-
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 10 of 109 PageID #: 142889




 process provided in the provided in the Declaration of Henry Garrard and the firm-specific

 paragraphs addressing the contribution of each firm that the FCC proposed to receive common

 benefit funds. Consistent with the evaluation process for the First Round submissions, I found that

 the methodology utilized by the FCC was fair and in accordance with the law and directions of

 this Court. In summary, before issuing its Final Written Recommendation, the FCC provided

 ample opportunities for the firms to advocate for their contribution to the common benefit of the

 litigation, including through providing for a period of self-audit prior to submission for review,

 written responses to the initial review performed by the FCC, an opportunity to provide supporting

 written materials addressing the nature and value of the applicant firm’s contribution to the

 common benefit, an opportunity to be heard by the FCC, and the opportunity to submit a written

 objection to the Preliminary Written Recommendation.

         In meeting with the FCC and the Chairperson of the FCC, I was informed of the FCC’s

 process of reviewing the time and expense submissions from 37 different Second Round applicant

 firms, which is explained in detail in the Final Written Recommendation, and which consumed

 several months. The total individual time entries across the 37 firms exceeded over 138,000 hours

 in entries. I also observed the FCC meetings with applicant firms who chose to appear where those

 firms’ contributions to and participation in the litigation, were discussed and analyzed. 6 Based on

 my meetings with the FCC, the Chairperson of the FCC, my attendance at each of the applicant

 firms’ presentations, and my review of the materials submitted by the applicant firms, I was able

 to evaluate the nature and quantity of the work performed by each applicant firm in considering

 each applicant firm’s contribution to the outcome of the litigation.




 6
  As I noted in my prior Recommended Allocation, all Second Round applicant firms were subject to the
 same process, rules, guidelines and analysis regarding the common benefit time, including the FCC firms.

                                                  - 10 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 11 of 109 PageID #: 142890




        I find it particularly instructive that of the thirty-seven Second Round applicant firms who

 submitted common benefit time for consideration, and of five firms that objected to the FCC’s

 Preliminary Written Recommendation, only two firm remain as objectors. Much like during the

 First Round, the multiple opportunities to give and receive feedback and the FCC’s demonstrated

 willingness to hear and give due consideration to the positions of those applicant firms who made

 objections and to adjust its recommended allocation where appropriate is evidence of the allocation

 process working as the Court intended. See, In re Vioxx Prods. Liab. Litig., 802 F.Supp.2d 740,

 774 (E.D.La.2011) (J. Fallon) (“The Court interprets this ongoing development of the FAC’s and

 the Special Master’s recommended allocations as an indication that the allocation process was

 working properly. The effectiveness of this [allocation] process in this case is supported by the

 fact that only 4 out of the 108 common benefit fee applicants continue to maintain their

 objections.”). As shown in Exhibit 1 to this Recommended Allocation, the proposed allocation of

 common benefit funds to applicant firms changed from the FCC’s Preliminary Written

 Recommendation to its Final Written Recommendation in response to information received by the

 FCC through its review and objection process. Based on the information I received through the

 two objections to the Final Written Recommendation, I have made further changes in allocation to

 certain applicant firms.

        I have considered the arguments and submissions of each of the firms that objected to the

 FCC’s Final Written Recommendation in making this Recommended Allocation.

        One of the firms that objects to the FCC’s Final Written Recommendation, Kline & Specter

 (K&S), previously objected to the Final Written Recommendation, my Recommended Allocation

 and to the Court’s Allocation Order, ultimately filing an appeal with the U.S. Court of Appeals for

 the Fourth Circuit. K&S raises many of the same arguments in its objection to the FCC’s Second



                                               - 11 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 12 of 109 PageID #: 142891




 Round Final Written Recommendation that they raised previously. Those arguments were rejected

 at every turn.

        K&S first objects on the ground that an alleged “stark contrast” between the percentage

 awarded to K&S during the First Round allocation process and that recommended by the FCC

 during the Second Round “is reason to doubt the methodology, if one even exists, employed by

 the FCC in reaching those awards.” Thus, K&S is merely attempting to relitigate the First Round

 allocation process, raising the same arguments that its work in the Philadelphia Court of Common

 Pleas should have warranted a higher allocation than the firm was awarded in the First Round.

 Those same arguments were rejected by the undersigned and by the Court and K&S’s appeal

 asserting these same arguments was dismissed by the Fourth Circuit. K&S also argues that its

 present allocation (3%) is inconsistent with the number of hours that the firm was credited by the

 FCC. In other words, K&S appears to contend that while it received too low an allocation during

 the First Round given the number of hours submitted, the FCC’s Second Round recommendation

 for K&S is too high given the relatively few hours that were recognized by the FCC as for the

 common benefit.

        As with its similar argument that was rejected during the First Round allocation process,

 K&S’s narrow focus on the number of hours submitted compared to the firm’s recommended

 allocation is misguided. I am not required to, and I did not attempt to, employ any “lodestar”

 calculation in making my recommended allocation. Glaberson v. Comcast Corp., 2016 WL

 6276233 (E.D.Pa. 2016) (“a mathematical application of a ratio of the firms’ lodestars is not

 mandated” in the allocation of common benefit attorneys’ fees). I also did not perform a

 comparative lodestar calculation comparing hourly rates for a particular firm in the Court’s

 allocation of common benefit funds from the initial period of review to this recommended



                                               - 12 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 13 of 109 PageID #: 142892




 allocation for the period from December 21, 2016, through December 30, 2020. In making this

 Recommended Allocation, I considered the appropriate award for each firm in light of the available

 funds for this time period based on the contribution of the firm to the common benefit of the

 litigation. Citing to Judge Fallon’s Vioxx opinion, the Special Master in Deepwater Horizon

 observed that “[m]echanically calculating hours and allocating fees solely on that basis would

 incentivize padded hours and diminish the work that truly moved the litigation towards its

 conclusion.” (In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on Apr.

 20, 2010, 2:10-md-2179, Doc. 23574-1 (Special Master’s Recommendation Concerning the

 Allocation of Common Benefit Fees) (Oct. 24, 2017), p. 8 (emphasis added)). I similarly find that

 multiplying the number of hours submitted by an hourly rate would only serve to reward firms that

 abused the process and would not adequately account for the wide variations in the value of the

 benefit of the work performed by the applicant firms.

        While the hours submitted by the applicant firms was considered as a part of my analysis,

 I reviewed the submitted time and applicant presentations and materials not to calculate a

 “lodestar” but rather in light of the Court’s overarching instruction to “evaluat[e] what work and

 expenses furthered the common benefit of the litigation.” (Fee Committee Protocol, p. 10). See

 also, In re Thirteen Appeals Arising Out of San Juan Dupont Plaza Hotel Fire Litig., 56 F.3d 295,

 307 (1st Cir.1995) (“While the time logged is still relevant to the court’s inquiry – even under the

 [percentage of fund] method, time records tend to illuminate the attorney’s role in the creation of

 the fund, and, thus, inform the court’s inquiry into the reasonableness of a particular

 percentage….”); In re Copley Pharmaceutical, Inc., Albuterol Prods. Liab. Litig., 50 F.Supp.2d

 1141, 1149-50 (D.Wyo.1999) (“[t]he value of time expended with appropriate adjustments may




                                                - 13 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 14 of 109 PageID #: 142893




 provide a rough starting point for assessing the respective roles of counsel, but it should not be

 used rigidly as a precise measure to the exclusion of other intangible factors.”).

        In addition to the number of hours submitted, my review of the work performed considered

 additional factors in order to determine its quality and the value it generated towards the overall

 litigation and ultimate settlements. I also took into account the financial contribution of the firms

 to the common benefit fund which is not reflected in any submission of hours.

        As previously noted in making my Recommended Allocation during the first round, my

 methodology in assigning a percentage to each applicant firm of the aggregate award based on the

 firm’s relative contribution to the outcome of the litigation is consistent with the methodology in

 similar multi-plaintiff product liability MDLs, including those in which I have served in a similar

 role. See, In re Nuvaring Prods. Liab. Litig., 2014 WL 7271959, *6 (E.D.Mo.2014) (MDL court

 affirming my recommended allocation of common benefit fees based on the quality and value of

 the work performed rather than on a “lodestar” analysis of rates multiplied by hours); In re Yasmin

 and Yaz Prods. Liab. Litig., 3:09-md-02100, Doc. 3843 (Special Master’s Report and

 Recommendation Regarding the Allocation and Distribution of Common Benefit Fees and

 Expenses) (S.D.Ill. Nov. 6, 2015), pp. 7-8 (my recommended allocation based on the quality and

 value of the work to the litigation and resolution, expressly declining the “lodestar” approach,

 adopted by MDL Court in its entirety). Id., Doc. 3856 (Minute Order adopting Special Master’s

 recommended allocation in its entirety) (S.D. Ill. Nov. 20, 2015). The First Circuit in In re Thirteen

 Appeals Arising Out of San Juan Dupont Plaza Hotel Fire Litig., 56 F.3d 295, 307-08 (1st

 Cir.1995), ruled that “the court below did not err in purposing to allocate fees based on the

 [percentage of fund] method, emphasizing the attorneys’ ‘relative contribution’ to the creation of

 the Fund.” Similarly, the MDL court in In re FEMA Trailer Formaldehyde Prods. Liab. Litig.,



                                                 - 14 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 15 of 109 PageID #: 142894




 2013 WL 1867117, *4-*15 (E.D.La.2013) approved the common benefit fee allocation proposed

 by the steering committee and the court-appointed special master, which awarded a stated

 percentage of available common benefit fees to each of the firms applying for common benefit.

 Similarly, in In re Prempro Prods. Liab. Litig., 2014 WL 3809101, *1-*2 (E.D. Ark. 2014), the

 MDL court adopted a percentage-based common benefit allocation as recommended by fee

 committee and proposed by the special master. Similarly, in In re Fresenius Granuflo/Naturalyte

 Dialysate Prods. Liab. Litig., MDL 2428 (“Granuflo”), the court-appointed fee committee

 recommended an allocation to each applicant firm of a percentage of the total fee award based on

 the committee’s experience and the facts submitted and after receiving input from the interested

 firms. Granuflo, 1:13-md-2428, Doc. 1983 (Memorandum in Support of Plaintiff Leadership’s

 Petition for Award and Allocation of Common Benefit Fees) (D.Mass. Dec. 12, 2017). The fee

 committee in Granuflo emphasized in its petition that it did not undertake to apply “an unyielding

 mathematical formula,” which it noted could not properly account for the subjective differences

 that must be considered in making such an award, such as the differing skills and contributions of

 the attorneys and varying nature and complexity of the tasks involved. Id., p. 22. The MDL court

 approved the committee’s recommendation. Granuflo, 2018 WL 2163627 (D.Mass.2018).

 Notably, this methodology was also approved and adopted and incorporated into the Court’s

 Allocation Order and Judgment in the First Round, which were subject to multiple appeals, all of

 which proved unsuccessful.

        K&S also argues that its work in state court was treated differently than the time

 submissions of other firms. The cutoff dates provided to all firms as part of the FCC’s review of

 time and expense were applied to all firms and all cases. These dates were applied to cases in both

 state and federal court and reflect the lack of common benefit derived from work in a firm’s



                                               - 15 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 16 of 109 PageID #: 142895




 individual cases at this late stage in the litigation. I further note that state court trials were subject

 to the same analysis by the FCC, regardless of the identity of trial counsel and irrespective of

 whether the time was expended by Plaintiffs’ leadership, Participating Counsel, or member firms

 of the FCC. Arguments that there were different “rules” for state court cases or for the FCC

 members and other applicant firms are simply without merit and factually incorrect.

         K&S further complains that it is unable to adequately respond to or assess the FCC’s

 recommended allocation without first receiving discovery from the FCC regarding its

 deliberations. Contrary to K&S’s suggestion, however, I have observed the FCC’s process to be

 open and transparent. The FCC provided ample information and explanation regarding its process

 and its analysis to each of the objecting firms. The FCC’s process provided applicant firms with

 meaningful opportunities to object and to be heard. K&S has also had the opportunity to be heard

 by me through its written objection to the Final Written Recommendation, and again I have taken

 their objections into consideration in making my recommendation. As the FCC has pointed out

 previously in this litigation, and as the Court has previously held in connection with the First

 Round allocation, discovery in connection with fee motions is rarely permitted and should never

 result in a second major litigation. See, e.g., In re Genetically Modified Rice Litig., 764 F.3d 864,

 872 (8th Cir. 2014). The Court has denied K&S’s motions seeking discovery from the FCC on

 multiple occasions. It is not the FCC’s or my obligation to demonstrate why any particular time

 submission was not considered for the common benefit. To the contrary, it is the burden of the

 applicant firm who claims entitlement to common benefit to prove its compliance with the Court’s

 Common Benefit Orders as well as to prove how and the extent to which its work benefited the

 litigation. See, In re Volkswagen “Clean Diesel” Marketing, Sales Practices, and Prods. Liab.

 Litig., 2019 WL 274036, *5-*9 (9th Cir. Jan. 22, 2019).



                                                   - 16 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 17 of 109 PageID #: 142896




        The Potts Firm’s objection to the FCC’s Second Round Final Written Recommendation is

 essentially that its work during the Second Round time period was undervalued by the FCC while

 other firms would receive too much money for their work during that same time frame under the

 FCC’s recommendation. I note that the FCC took the Potts’ Firm’s objections into consideration

 and recommended an increase in the Potts Firm’s allocation from its Preliminary

 Recommendation. As noted below, I am also increasing the Potts Firm’s recommended allocation

 from that suggested by the FCC. However, it is inevitable that law firms that have devoted

 significant time and effort to this litigation will view the value of their own work, and that of

 others, differently. It would be unrealistic to expect that every lawyer (or judge) would reach the

 same conclusion regarding the value of every applicant firm’s work. In Diet Drugs, 2003 WL

 21641958 *10-*11, the court made an observation that I find particularly instructive here, stating

 “[w]ith so much money at stake and so much time invested by skilled attorneys on valuable

 common benefit work, it is not surprising that disputes exist concerning the proper method and

 dollar amount of the individual allocations. We emphasize, however, that the allocation of fees is

 not an exact science.”

        Because many of the relevant factors in the allocation decision process are inherently

 subjective, Judge Fallon noted in Vioxx that “some subjectivity is unavoidable in allotting common

 benefit fees.” 802 F. Supp. 2d at 774. As Judge Fallon explained further, “[t]he best that can be

 done to assure the validity of the analysis is to base the subjectivity quotient on sufficient

 facts and experience, and to invite input from those affected.” Id. at 774 (emphasis added).

        The common benefit allocation process is intended to provide meaningful input and

 feedback, the ultimate goal of which is not to achieve perfection but rather a result that is fair and

 reasonable. The court in In re Motor Fuel Temperature Sales Practices Litig., 2016 WL 4445438,



                                                 - 17 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 18 of 109 PageID #: 142897




 *13 (D.Kan.2016), observed that “[i]n determining reasonable attorneys’ fees, the essential goal

 ‘is to do rough justice, not to achieve auditing perfection.’” See also, Diet Drugs, 2003 WL

 21641958 at *6 (noting that applicants had the opportunity to object to their proposed fee

 allocation, meet with the fee committee and discuss their objections, suggest revisions before a

 final recommended allocation was determined, and, if still dissatisfied, seek relief from the court).

 As outlined above, the common benefit allocation process here provided multiple opportunities to

 object and to be heard. Where appropriate, adjustments have been made in light of the feedback

 and information provided for certain of the applicant firms.

        As noted above, there are only two remaining objectors to the FCC’s Final Written

 Recommendation. I believe that this is a direct result of the Due Process safeguards put into place

 by the Court in the Fee Protocol and its implementation by the FCC. It is also a testament to the

 reasonableness of certain objectors and the FCC, as well as a willingness to reach compromise

 despite good faith disagreements concerning the ultimate common benefit value provided by a

 particular firm. I discuss each of the two remaining objectors in turn below. I am satisfied that the

 methods employed by the FCC, as well as my methodology in making allocations, is consistent

 with applicable precedent, as well as the directives given by the Court. For each of the two firms

 that objected to the FCC’s Final Written Recommendation, I make the following findings and

 recommendations regarding allocation of common benefit funds:

        1. Kline & Specter: I received the materials submitted by this objector and considered

            the contribution of the firm to the common benefit of the litigation. This firm’s

            objection is premised on its insistence upon the use of a lodestar methodology that is

            inconsistent with the Court’s direction and inconsistent with the FCC’s evaluation.

            Likewise, as stated in this Recommended Allocation this objector’s proposed lodestar



                                                - 18 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 19 of 109 PageID #: 142898




          methodology is inconsistent with my evaluation of firms seeking common benefit

          compensation. Because this objector seeks to evaluate itself and all other firms through

          its own lens of a lodestar (hours x rate) methodology, its arguments regarding a

          purported need for discovery, its evaluation of its own compensation, and its evaluation

          of the compensation of other firms are flawed. In making my recommendation, I

          reviewed and considered the time and effort expended by this objector and recognize

          that a great deal of their work was done in individual cases filed in the Court of

          Common Pleas in Philadelphia, Pennsylvania. I also note the significant financial

          contribution that this objector has made to the common benefit fund through the

          payments associated with its cases. In balancing the information gained from this

          objector with the information gleaned from the evidence developed throughout the

          common benefit review process under the Protocol, I recommend no change in the

          amount allocated for common benefit fees as reflected in Exhibit 1 hereto.

       2. Potts Law Firm: I received the materials submitted by this objector, and I considered

          the contribution of the firm to the common benefit of the litigation. The firm’s objection

          provided helpful information describing its role in the resolution of those cases

          remaining after many of the larger inventory settlement in these MDLs. The firm also

          described its role in the preparation of the case involving the Bard Alyte product. I note

          that the FCC’s Final Written Recommendation increased the recommended percentage

          allocation for this objector in response to the firm’s objection to the Preliminary Written

          Recommendation. I also note that in making its objection, the objector premised part

          of its argument upon a self-calculated hourly rate. The firm’s self-calculated hourly

          rate was miscalculated by the objector and incorrectly understated the award previously



                                              - 19 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 20 of 109 PageID #: 142899




            recommended by the FCC in its Final Written Recommendation. In balancing the

            information gained from this objector with the information gleaned from the evidence

            developed throughout the common benefit review process under the Protocol, I

            recommend an increase of 0.46000% which, when considered in light of the anticipated

            $30,000,000 available fund for distribution for common benefit fees, results in an

            effective increase of $138,000.00. This increase in the recommended award results in

            a total percentage of 4.30000% as reflected in Exhibit 1 hereto.



 III.   REIMBURSEMENT OF SHARED EXPENSES AND HELD COSTS

        The common fund doctrine also authorizes reimbursement of the reasonable amounts paid

 out-of-pocket to achieve a common benefit recovery or to advance the common goals of all

 plaintiffs in MDL litigation. As discussed above, this Court previously ordered that 5% of all

 proceeds of cases be held back for “payment of attorneys’ fees and approved common benefit and

 MDL expenses.” The common benefit attorneys have incurred a substantial amount in common

 benefit “held” expenses.

        Through my meetings with the FCC and the Chairperson of the FCC along with my review

 of the materials submitted to me as part of my “record” for preparation of this Recommended

 Allocation, I observed that the same due process protections provided to applicant firms with

 regard to common benefit time submissions were also applied to the review of expense

 submissions. The FCC ensured that each request complied with this Court's direction as set forth

 in the Protocol and the FCC Order. All the expenses that the FCC has recommended for

 reimbursement were incurred in the ordinary course of litigation for the common benefit of all

 plaintiffs and are reasonable.



                                               - 20 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 21 of 109 PageID #: 142900




 IV.    ALLOCATION OF COMMON BENEFIT FEES, SHARED EXPENSES AND
        HELD COSTS

        Based upon all of this work, I made my determination for each firm independently of the

 FCC. The FCC’s process for evaluation of firms continued to be the most thorough that I have

 ever encountered. While I am convinced that the FCC process was thorough and fair, I did reach

 a different conclusion as to one of the two objecting firms - including adjusting allocations for

 firms on the FCC.

        The allocations of fees and expenses are attached as Exhibits 1 and 2, and for the detailed

 reasons set-forth herein, I make the recommendation that this Court approve these allocations.

 Further, I agree with the recommendation of the FCC that this Recommended Allocation should

 be the final proposal from the External Review Specialist, and there should be no further review

 of time and expense submissions. I recommend that the Court (1) allocate the currently held thirty

 percent (30%) fund amongst applicant firms utilizing the proposed expense reimbursements and

 percentages as set forth in this Recommended Allocation; (2) allocate thirty percent (30%) of

 future funds received in the MDL common benefit fund amongst applicant firms utilizing the same

 percentages as set forth in this Recommended Allocation; and (3) continue to allocate seventy

 percent (70%) of future funds received in the MDL common benefit fund amongst applicant firms

 utilizing the percentages as set forth in the Court’s July 25, 2019, Allocation Order.




                                                - 21 -
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 22 of 109 PageID #: 142901
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 23 of 109 PageID #: 142902




               External Review Specialist’s
                 Recommended Allocation



                 Exhibit 1
      Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 24 of 109 PageID #: 142903
EXHIBIT 1
External Review Specialist's
Recommended Allocation of Fees

                                                FCC's Preliminary Written    FCC's Final Written     External Review Specialist's
                   Firm                        Recommendation Allocation Recommendation Allocation Recommended Allocation
A. Craig Eiland                                                 1.1940000%                1.1940000%                1.1940000%
Adam Peavy                                                      1.3700000%                1.3700000%                1.3700000%
Anderson Law Offices                                            0.2470000%                0.2470000%                0.2470000%
Andrus Wagstaff, PC                                             0.8880000%                0.8880000%                0.8880000%
Aylstock, Witkin, Kreis & Overholtz                            10.8000000%               10.8000000%               10.8000000%
Blasingame, Burch, Garrard & Ashley P.C.                       13.8643400%               13.6593400%               13.5443400%
Blizzard Law, PLLC                                              0.0860000%                0.0860000%                0.0860000%
Bossier & Associates, PLLC                                      0.1100000%                0.1100000%                0.1100000%
Burnett Law Firm                                                6.8000000%                6.8000000%                6.8000000%
Carey Danis                                                     0.2000000%                0.2000000%                0.2000000%
Clark, Love & Hutson G.P.                                      13.3643200%               13.1593200%               13.0443200%
Evers Law Group                                                 0.1400000%                0.1400000%                0.1400000%
Frankovitch, Anetakis, Simon, Decapio & Pearl,                  3.3400000%                3.3400000%                3.3400000%
Freese & Goss, PLLC                                             0.0000000%                0.0000000%                0.0000000%
Hail Law Office                                                 0.7700000%                0.7700000%                0.7700000%
Keith, Miller, Butler                                           0.0000000%                0.0000000%                0.0000000%
Kline & Specter, PC                                             3.0000000%                3.0000000%                3.0000000%
Lanier Law Firm, P.C.                                           0.1750000%                0.1750000%                0.1750000%
Levin Simes LLP                                                 0.7500000%                0.7500000%                0.7500000%
Lockridge, Grindal, Nauen, PLLP                                 3.3400000%                3.3400000%                3.3400000%
Mazie Slater Katz & Freeman                                     4.2500000%                4.2500000%                4.2500000%
Meyers & Flowers, LLC                                           0.0680000%                0.0680000%                0.0680000%
Monsour Law Firm                                                1.0450000%                1.0450000%                1.0450000%
Mostyn Law                                                      1.6000000%                1.6000000%                1.6000000%
Motley Rice, LLC                                                8.8643200%                8.6593200%                8.5443200%
Mueller Law Offices                                             0.0180000%                0.0180000%                0.0180000%
Oliver Law Group, P.C.                                          0.0060000%                0.0060000%                0.0060000%
Perdue and Kidd                                                 0.6290000%                0.6290000%                0.6290000%
Potts Law Firm, LLP                                             3.3400000%                3.8400000%                4.3000000%
Restaino Law Firm                                               0.9870000%                0.9870000%                0.9870000%
Salim-Beasley                                                   3.5000000%                3.5000000%                3.5000000%
Sanders Viener Grossman, LLP                                    0.0527000%                0.0527000%                0.0527000%
Schneider, Wallace, Cottrell, Konecky                           0.0690000%                0.0690000%                0.0690000%
Schroeder Law Office, PLLC                                      0.1100000%                0.1100000%                0.1100000%
Wagstaff & Cartmell, LLP                                       13.3643200%               13.1593200%               13.0443200%
Watts Guerra, LLP                                               0.0080000%                0.0080000%                0.0080000%
Wexler Wallace, LLP                                             1.6500000%                1.9700000%                1.9700000%




                                                             1 of 1
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 25 of 109 PageID #: 142904




               External Review Specialist’s
                 Recommended Allocation



                 Exhibit 2
     Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 26 of 109 PageID #: 142905
EXHIBIT 2
External Review Specialist's
Recommended Allocation of Expenses                                 Total Expense
                                       Firm                       Reimbursement
         A. Craig Eiland                                      $             14,994.96
         Adam Peavy                                                                -
         Anderson Law Offices                                                8,238.77
         Andrus Wagstaff, PC                                                29,671.75
         Aylstock, Witkin, Kreis & Overholtz                                84,358.30
         Blasingame, Burch, Garrard & Ashley P.C.                          467,202.31
         Blizzard Law, PLLC                                                  2,243.67
         Bossier & Associates, PLLC                                         11,242.94
         Burnett Law Firm                                                   37,594.84
         Carey Danis                                                               -
         Clark, Love & Hutson G.P.                                         583,616.22
         Evers Law Group                                                           -
         Frankovitch, Anetakis, Simon, Decapio & Pearl, LLP                 34,964.75
         Freese & Goss, PLLC                                               325,359.03
         Hail Law Office                                                           -
         Keith, Miller, Butler                                                     -
         Kline & Specter, PC                                                       -
         Lanier Law Firm, P.C.                                                     -
         Levin Simes LLP                                                    85,162.70
         Lockridge, Grindal, Nauen, PLLP                                    60,546.69
         Mazie Slater Katz & Freeman                                        81,000.00
         Meyers & Flowers, LLC                                                     -
         Monsour Law Firm                                                    5,891.50
         Mostyn Law                                                         30,570.59
         Motley Rice, LLC                                                  176,626.47
         Mueller Law Offices                                                 2,809.75
         Oliver Law Group, P.C.                                                    -
         Perdue and Kidd                                                    14,220.75
         Potts Law Firm, LLP                                                62,082.84
         Restaino Law Firm                                                         -
         Salim-Beasley                                                     519,242.97
         Sanders Viener Grossman, LLP                                              -
         Schneider, Wallace, Cottrell, Konecky                                     -
         Schroeder Law Office, PLLC                                                -
         Wagstaff & Cartmell, LLP                                          229,768.56
         Watts Guerra, LLP                                                         -
         Wexler Wallace, LLP                                                       -
         Total:                                               $         2,867,410.36




                                                    1 of 1
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 27 of 109 PageID #: 142906




               External Review Specialist’s
                 Recommended Allocation



                 Exhibit 3
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 28 of 109 PageID #: 142907




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION



  IN RE: C.R. BARD, INC., PELVIC REPAIR                              MDL NO. 2187
  SYSTEM PRODUCTS LIABILITY LITIGATION


  IN RE: AMERICAN MEDICAL SYSTEMS, INC.                              MDL No. 2325
  PELVIC REPAIR SYSTEMS PRODUCTS
  LIABIILITY LITIGATION


  IN RE: BOSTON SCIENTIFIC CORP., PELVIC                             MDL No. 2326
  REPAIR SYSTEM PRODUCTS LIABILITY LITIGATION


  IN RE: ETHICON, INC., PELVIC REPAIR SYSTEM                         MDL No. 2327
  PRODUCTS LIABILITY LITIGATION


  IN RE: COLOPLAST CORP., PELVIC REPAIR                              MDL No. 2387
  SYSTEM PRODUCTS LIABILITY LITIGATION


  IN RE: COOK MEDICAL, INC, PELVIC REPAIR                            MDL No. 2440
  SYSTEM PRODUCTS LIABILITY LITIGATION


  IN RE NEOMEDIC PELVIC REPAIR SYSTEM                                MDL No. 2511
  PRODUCT LIABILITY LITIGATION


  This Document Relates To All Cases



     Final Written Recommendation of the Common Benefit Fee and Cost Committee
   Concerning the Allocation of Common Benefit Fees and the Reimbursement of Shared
 Expenses and Held Costs For the Period of December 21, 2016 Through December 30, 2020

        COMES NOW, The Common Benefit Fee and Cost Committee (“FCC”) and on May 18,

 2022, issues its Final Written Recommendation concerning the allocation of common benefit fees


                                               1
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 29 of 109 PageID #: 142908




 and the reimbursement of shared expenses and held costs for the period of December 21, 2016,

 through December 30, 2020.

 1. Formation of the FCC:

        The Court, on January 15, 2016, entered its Pretrial Order Establishing Criteria for

 Applications to the MDL Fund to Compensate and Reimburse Attorneys for Services Performed

 and Expenses Incurred for MDL Administration and Common Benefit and Appointment of

 Common Benefit Fee and Cost Committee in MDL Nos. 2187, 2325, 2326, 2327, 2387, 2440, and

 2511 (the “FCC Order”). 1 Much like the litigation had been conducted by a cross-MDL leadership

 team tasked with working across MDL lines, the FCC Order appointed nine individuals to serve

 as members of the Common Benefit Fee and Cost Committee for purposes of recommending an

 allocation of a singular common benefit fund. The nine members of the FCC are Chairperson

 Henry G. Garrard III (Blasingame, Burch, Garrard & Ashley), Renee Baggett (Aylstock, Witkin,

 Kreis & Overholtz), Riley L. Burnett, Jr. (Burnett Law Firm), Thomas P. Cartmell (Wagstaff &

 Cartmell), Clayton A. Clark (Clark, Love & Hutson), Yvonne M. Flaherty (Lockridge, Grindal,

 Nauen), Carl N. Frankovitch (Frankovitch, Anetakis, Colantonio & Simon), William H. McKee,

 Jr., and Joseph F. Rice (Motley Rice). 2

        On June 23, 2017, the Court entered its Pretrial Orders establishing the Fee Committee

 Protocol for the review and evaluation of time and expense for consideration by the FCC (the




 1
  Bard MDL 2187 PTO 207, AMS MDL 2325 PTO 204, BSC MDL 2326 PTO 136, Ethicon MDL 2327
 PTO 211, Cook MDL 2440 PTO 71, Coloplast MDL 2387 PTO 85, Neomedic MDL 2511 PTO 23.
 2
  The FCC members have no financial arrangement with one another with regard to the payment of funds
 associated with common benefit awards. Each member’s conduct is independent and guided by the Court’s
 Orders.


                                                  2
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 30 of 109 PageID #: 142909




 “Protocol”). 3 Pursuant to the terms of the Protocol, on October 13, 2017, the Court entered its

 Order Granting Motion to Appoint the Honorable Daniel J. Stack, Retired, as External Review

 Specialist to work with the FCC in accomplishing the Court’s directives under the FCC Order and

 the Protocol. 4

 2. History of the Litigation:

         In its prior final written recommendation for the period ending December 20, 2016, the

 FCC provided an exhaustive history of the development of the multi-district litigations (“MDLs”)

 pending before this Court. The FCC incorporates its prior recitation of the history of the MDLs in

 its present Final Written Recommendation for the seven multidistrict litigations (“MDLs”) in the

 Southern District of West Virginia. Never before in the history of MDL practice has the JPML

 sent multiple, large-scale product liability MDLs involving different products and manufacturers

 to a single MDL court for inter-MDL coordinated proceedings. The pelvic mesh litigation

 coordinated before this Court ultimately grew to include more than 100,000 filed cases, comprising

 one of the largest mass tort litigations in history.

         As explained in the Plaintiffs’ Proposed Counsel Organizational Structure, which was

 submitted to the Court on March 17, 2012, the common medical, scientific and legal claims and

 theories, common defenses, and common experts, as well as the presence of numerous plaintiffs

 implanted with different defendants’ products, called for a singular “cross-MDL” Plaintiffs’




 3
  Bard MDL 2187 PTO 257, AMS MDL 2325 PTO 244, BSC MDL 2326 PTO 166, Ethicon MDL 2327
 PTO 262, Cook MDL 2440 PTO 81, Coloplast MDL 2387 PTO 133, Neomedic MDL 2511 PTO 38.
 4
  Bard MDL 2187 Doc. No. 4663, AMS MDL 2325 Doc. No 5112, BSC MDL 2326 Doc No. 4422, Ethicon
 MDL 2327 Doc. No. 4783, Cook MDL 2440 Doc. No. 592, Coloplast MDL 2387 Doc. No. 1572, Neomedic
 MDL 2511 Doc. No. 177.


                                                    3
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 31 of 109 PageID #: 142910




 leadership structure. The Proposed Counsel Organizational Structure was vetted and agreed upon

 by every attorney who was included in the proposal.

        The Plaintiffs’ lawyers involved in the litigation from the outset foresaw the onerous task

 that lay ahead and assembled a Plaintiffs’ Steering Committee (“PSC”) of 61 attorneys from law

 firms across the country, who were ultimately appointed and assigned by the Court the

 responsibility of marshaling resources and leading this sprawling litigation under a unified

 leadership structure. The Court entered Orders in each of the MDLs stating that “[i]t shall be the

 responsibility of Coordinating Co-Lead Counsel to work across MDL lines in conjunction with

 the Executive Committee named below to determine which attorneys are best suited to handle a

 given task….” and appointing “[a] singular PSC to coordinate across MDL lines in the [] separate

 pelvic mesh MDLs before this court….” (Emphasis added). 5

        The FCC’s previous final written recommendation detailed the efforts and

 accomplishments of plaintiffs’ counsel in the MDLs. In the time period applicable to the present

 Final Written Recommendation, Plaintiffs’ leadership continued their prior work in moving the

 MDLs toward conclusion. MDL leadership continued to provide the support and materials

 associated with plaintiffs’ expert witnesses so that cases placed in the MDL Court’s wave process

 and ultimately those cases remanded for trial could satisfy the expert requirements. MDL

 leadership also continued to support firms in the wave process by identifying deposition

 transcripts, relevant documents in support of liability, and briefing materials for use by counsel in

 preparation of individual cases for trial.

        While the litigation against the majority of products and defendants was fully mature prior

 to the time period applicable to the present Final Written Recommendation, there were certain


 5
  Bard MDL 2187 PTO 33, AMS MDL 2325 PTO 4, BSC MDL 2326 PTO 4, Ethicon MDL 2327 PTO 4,
 Cook MDL 2440 PTO 4, Coloplast MDL 2387 PTO 2, Neomedic MDL 2511 PTO 7.

                                                  4
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 32 of 109 PageID #: 142911




 instances where the development of the litigation continued. The development of the general

 liability case regarding the Coloplast products continued during the applicable time period

 including corporate depositions, document review, development of expert witnesses, Daubert and

 dispositive motion briefing, and depositions of defendant’s expert witnesses. Likewise, continuing

 discovery and development was undertaken with regard to the Mullins consolidation in the Ethicon

 MDL, the Bard Alyte product and the AMS MiniArc product.

        Additionally, MDL leadership worked at the Court’s direction to aid in the resolution of

 cases in an effort to ensure that those plaintiff’s attorneys with limited numbers of cases received

 the full benefit of MDL leadership’s knowledge and experience when negotiating the resolution

 of their cases. MDL leadership appeared in West Virginia to aid in the negotiation and resolution

 of individual cases without charge to any plaintiff.

        Finally, the FCC members devoted significant time to the review of time and expense

 submissions for the initial review period through December 20, 2016. FCC members along with

 members of their firms reviewed time and expense submissions, met to evaluate the merit of

 submissions, prepared materials for distribution to firms and drafted pleadings in support of the

 Court’s Order establishing the payment of common benefit funds including briefing to the Fourth

 Circuit Court of Appeals and the United States Supreme Court. The Court’s Order and allocation

 were upheld by the appellate courts including the finding that all counsel participating in the

 Court’s common benefit compensation process waive any right to appeal the Court’s decisions or

 the ability to assert the lack of enforceability of the Court’s common benefit Order.

        In the prior period, ending December 20, 2016, ninety-four law firms submitted more than

 900,000 hours of time for common benefit consideration, and the Court-appointed FCC recognized

 a total of 679,191.20 of those hours as being for common benefit. For the current period of



                                                  5
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 33 of 109 PageID #: 142912




 December 21, 2016, through December 30, 2020, (the subject of this Final Written

 Recommendation) the FCC received submissions from thirty-seven firms totaling more than

 138,000 hours, and the Court-appointed FCC recognized a total of 61,646.48 of those hours as

 being for common benefit.

        Over ninety-five percent of cases in these MDLs have reached resolution or otherwise been

 dismissed, which has resulted in approximately $525,000,000 in payments into the common

 benefit fund by Defendants. Of that amount, approximately $490,000,000 has been distributed to

 firms pursuant to the percentages set forth in the Court’s July 25, 2019, Allocation Order, including

 continuing quarterly distribution of seventy percent (70%) of funds received into the common

 benefit fund each calendar quarter since January of 2020. At present, there remains a fund of

 approximately $33,000,000 available for payment of common benefit time and expenses for the

 period of December 21, 2016, through December 30, 2020.

 3. Process of Allocation of Funds for Common Benefit Fees and Expenses.

        On October 4, 2012, the Court entered its Pretrial Order Regarding Management of

 Timekeeping, Cost Reimbursement and Related Common Benefit Issues. 6 In this Order, the Court

 set preliminary procedures for attorneys establishing standards for maintaining and submitting

 time and expenses for possible future consideration as common benefit and established the account

 to receive and disburse funds for the common benefit of the litigation. The Court directed attorneys

 to submit time and expense records to the Court-appointed accountant on a periodic basis of every

 six weeks beginning November 1, 2012. As part of this Order, which was approved by all members

 of the PSC and signed and submitted by all members of the Plaintiffs’ Executive Committee,



 6
  Bard MDL 2187 PTO 54, AMS MDL 2325 PTO 20, BSC MDL 2326 PTO 17, Ethicon MDL 2327 PTO
 18, Cook MDL 2440 PTO 11 (entered on 10/28/2013), Coloplast MDL 2387 PTO 6, Neomedic MDL 2511
 PTO 20 (entered on 12/22/2015).

                                                  6
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 34 of 109 PageID #: 142913




 counsel who desire to be considered for common benefit compensation acknowledged – as a

 condition for such consideration – that the Court will have “final, non-appealable authority

 regarding the award of fees, the allocation of those fees and awards for cost reimbursements in this

 matter” and they “have (or will have) agreed to and therefore will be bound by the court’s

 determination on common benefit attorney fee awards, attorney fee allocations, and expense

 awards, and…knowingly and expressly waive any right to appeal those decisions or the ability

 to assert the lack of enforceability of this Agreed Order or to otherwise challenge its

 adequacy.” (Emphasis added).

        As it had done previously for time and expense submissions through December 20, 2016,

 the FCC’s review of submissions was made pursuant to the Court’s Orders and applicable law. On

 October 26, 2020, the FCC held its first meeting, by telephone, for the purpose of performing the

 tasks required under the Court’s Orders so as to evaluate the common benefit work performed by

 applicant firms for the period of December 21, 2016, through December 30, 2020. The FCC held

 another call on November 2, 2020, to prepare and plan for the upcoming time and expense review

 process. The FCC then worked with the Court-appointed accountants during November and

 December of 2020, in advance of the time submission for time and expense through December 30,

 2020, in order to prepare for the delivery of materials to all firms seeking common benefit

 compensation.

        Upon the deadline for the submission of time and expense for consideration through

 December 30, 2020, the FCC worked with the CPA to oversee the delivery and compilation of

 time and expense spreadsheets to each firm seeking compensation on January 22, 2021. The CPA

 and the FCC returned to each applicant firm the time and expense documentation received by the

 CPA December 21, 2016, through December 30, 2020. Thereafter, each firm had sixty days in



                                                  7
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 35 of 109 PageID #: 142914




 which to audit its time and confirm that the time and expense submitted was true, accurate, clear,

 and for the common benefit of the litigation. Once complete, each firm was to resubmit its time

 and expense along with an affidavit from a senior member of the firm attesting that the time and

 expenses submitted were for common benefit. The FCC received the audited time and expense

 from firms and accompanying affidavits in March of 2021. The FCC met telephonically on March

 25, 2021, to plan the process of reviewing the time submissions received from applicant firms.

        The process of the Initial Review under the Protocol for submissions during the period of

 December 21, 2016, through December 30, 2020, began on March 30, 2020. The FCC’s

 methodology in evaluating the submissions of applicant firms follows the Protocol and the Court’s

 prior common benefit orders. The FCC’s review of the time and expense submissions and

 accompanying affidavits was conducted in accordance with the fifteen items enumerated in

 Section B of the Protocol, the ten factors identified in Section C of the Protocol (which are the

 same as the items in Section B of the FCC Order), as well as the factors enumerated in Barber v.

 Kimbrell’s, Inc., 577 F.2d 216 (4th Cir. 1978). The FCC assigned each firm seeking payment of

 common benefit funds to a panel of attorneys who were familiar with the review process, having

 participated in the review of time and expense in the initial submission through December 20,

 2016. These attorneys worked together to review every time and expense entry received from the

 applicant firms. In reviewing the time and expense submissions and affidavits, the reviewers were

 guided by the Protocol and the FCC Order in determining the firm’s contribution to the common

 benefit of the overall litigation. The FCC continued to meet during the process of review to discuss

 and ensure the consistent application of the review for each applicant firm’s submission. The FCC

 was assisted in its review process by certain other attorneys who were requested to assist the FCC

 pursuant to Section A of the FCC Order. Those attorneys were Amy Collins (Burnett Law Firm),



                                                  8
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 36 of 109 PageID #: 142915




 Thomas Hollingsworth (Blasingame, Burch, Garrard & Ashley), Diane Watkins (Wagstaff &

 Cartmell), and Michael Moreland (Clark, Love & Hutson). These attorneys assisted the FCC in

 the preparation of materials for FCC meetings.

        Upon commencement of the Initial Review of the time submission by applicant firms, the

 FCC recognized that some firms diligently self-audited their time entries and submitted time for

 review that was substantially compliant with the instructions from the Court regarding hours that

 would be considered as contributing to the common benefit of the litigation. However, other firms

 made little or no changes to their time submission during the Court-ordered self-audit process,

 which resulted in submissions for time that did not meet the Court’s instructions. The elimination

 of time that clearly did not meet the Court’s criteria for common benefit consideration, which

 should have been identified in the self-audit process, resulted in the FCC’s recognition of a

 relatively lower percentage of submitted hours as common benefit for firms that failed to

 adequately self-audit. Conversely, firms that made a good-faith effort to review their time

 submission during the self-audit period had a higher percentage of submitted time recognized as

 contributing to the common benefit as a result of those firms’ diligence.

        The process of reviewing the time and expense submissions made by firms continued

 through April of 2021, with the panel of reviewers meeting in Houston, Texas to perform the time

 and expense reviews on April 6, 7, and 8, 2021. The FCC met telephonically on April 15, 2021,

 to discuss ongoing reviews and ensure that all firms were receiving consistent evaluations pursuant

 to the Protocol. The FCC met again on May 18, 2021, in Houston, Texas, for the purpose of

 discussing those firms whose review had been completed by the panel of reviewers assigned the

 task of reviewing time submissions. The FCC met again by Zoom on May 27, 2021, June 1, 2021,

 and July 23, 2021, to finalize its discussion and analysis of firms seeking compensation for the



                                                  9
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 37 of 109 PageID #: 142916




 period of December 21, 2016, through December 30, 2020. During these meetings, each firm was

 thoroughly discussed by the entire FCC. While the number of FCC meetings was significant,

 greater time was invested by FCC members between meetings. FCC members routinely worked

 on matters in preparation for the next FCC meeting.

        During its meetings from May 18, 2021, through July 23, 2021, the FCC received detailed

 presentations about each firm seeking common benefit compensation. The work of the FCC during

 this period was not simply to determine the number of hours that might be considered

 compensable, but also (and more significantly to the FCC) the quality of those hours and the extent

 such time was of benefit to the litigation. As each firm was discussed, the FCC decided which

 time entries would (at that stage) be considered as common benefit, which time entries were

 deemed of no compensable value, and which entries required additional information in order for

 the FCC to properly evaluate the submission.

        Simultaneously, the FCC evaluated the nature of the legal work reflected in the time

 submissions. The FCC considered for each firm whether the work for which time was submitted

 was performed by attorneys or non-attorney staff, and the experience and seniority of the attorney

 performing work, as well as whether multiple lawyers or firm members were performing the same

 or similar tasks that could appropriately be handled by a single attorney. The FCC discussed the

 nature of the work and the role of the applicant firm as reflected in the time submissions, including,

 for example, whether the firm was engaged in document review, expert identification and

 preparation, written discovery, depositions, trials, briefing or appellate work, or settlement

 negotiation. With regard to the venue of cases, and in accordance with the Court’s instruction in

 the FCC Protocol, the FCC considered whether trial work was performed within the MDLs or in

 various state courts, and the extent to which it contributed to the outcome of the litigation and



                                                  10
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 38 of 109 PageID #: 142917




 benefited the MDL. In addressing trials, the FCC considered whether a trial was the first successful

 trial of a particular mesh product, whether the trial attorneys created common benefit materials

 and shared such materials with other plaintiffs’ firms within the litigation without compensation

 (and at what point in time that material was shared), and whether the trial attorneys consulted with

 MDL leadership in case selection, trial preparation and trial strategy. Further, the FCC considered

 whether a firm participated in a lead role, a back-up role, or was simply an observer of the activity

 in the litigation. Despite repeated requests by the FCC, in some instances, the low quality of

 information delivered to the FCC by the applicant firm made it impossible for the FCC to identify

 any common benefit derived from the submitted time.

        The foregoing examples are not meant to be exhaustive but are meant to be illustrative of

 the attention given to each firm during the Initial Review. Throughout the Initial Review, the FCC

 was mindful of the Court’s instruction that “the over-arching guideline that the FCC must consider

 is the contribution of each common benefit attorney to the outcome of the litigation.” The FCC

 received time entries totaling more than one hundred thirty-eight thousand (138,000) hours. The

 FCC reviewed every time entry from every firm in conducting its Initial Review. Where the FCC

 had questions requiring further evaluation of applicant firms, the FCC members continued their

 review and returned at subsequent meetings to respond. No applicant firm’s time or expense was

 approved for distribution to the firm until the FCC unanimously approved the time or expense.

        On July 26, 2021, the FCC provided its Initial Review to the applicant firms. Each firm

 received a letter detailing the process utilized by the FCC along with five exhibits. Exhibit A

 identified those time entries where the FCC found that there was no basis for an award of

 compensation for the time. Exhibit B identified those time entries requiring more information from

 the applicant firm. Exhibit C identified the dates beyond which the FCC determined that time did



                                                  11
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 39 of 109 PageID #: 142918




 not contribute to the common benefit of the litigation. Exhibit D identified those expenses sought

 for reimbursement which were allowed by the FCC as common benefit and those expenses which

 were disallowed by the FCC as common benefit. Exhibit E set forth categories of expenses which

 applicant firms were to remove from their submission. The letter to each firm instructed the

 applicant firm how and when to respond and also provided the reasons why time was placed on

 Exhibits A and B for that firm. Each letter was unique and tailored to the specific firm providing

 only those reasons that were applicable to the particular firm’s time. Firms were to provide an

 affidavit in the format provided in the Protocol signed by a senior firm member setting forth the

 reasons, grounds and explanation for the Firm’s entitlement to common benefit fees under the

 factors outlined in the FCC Order and in the FCC Protocol. Firms were also given the opportunity

 to provide a response for each time entry that the firm believed was placed on Exhibit A or B in

 error. Likewise, firms were to provide a response for each expense entry that the firm believed was

 disallowed on Exhibit D in error. For any firm that did not provide a complete response, the FCC

 contacted firms on September 2, 2021, requesting that the applicant firm complete its response.

        After receipt of the responsive materials from the firms, the panel of attorneys working

 with the FCC once again reviewed each time and expense entry for which the applicant firm sought

 reimbursement, as well as the materials provided, in order to further evaluate the contribution made

 by each firm to the common benefit of the litigation. The panel of reviewers met, in person, on

 September 27, 28, and 29, 2021, to review the materials provided by firms seeking compensation

 and to perform subsequent review of the time and expense submissions. The review process

 continued during September and October of 2021. The FCC met on November 4, 2021, in Atlanta

 Georgia. During the meeting the FCC received presentations regarding the responses received

 from applicant firms. The FCC discussed and decided on whether time submissions placed on



                                                 12
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 40 of 109 PageID #: 142919




 Exhibits A and B delivered to the firms should be considered as contributing to the common

 benefit. Likewise, the FCC discussed and decided on whether expense submissions marked as

 disallowed on Exhibit D delivered to the firms should be considered as reimbursable. As discussed

 above, the FCC’s focus during its review of responses of applicant firms was not directed toward

 a mechanical calculation of the numbers reflected in time and expense entries. Rather, the FCC

 endeavored to analyze the benefit and value of the work reflected in these submissions in light of

 each firm’s role in the litigation and in accordance with the Court’s directives set forth in the

 common benefit orders, based on the FCC’s experience in the litigation and the materials and

 information submitted by each Firm. Specifically, the FCC considered the final time and expense

 submissions and materials provided by each firm in light of the items enumerated in Section B of

 the Protocol, the factors enumerated in Section C of the Protocol, and the factors set forth in Barber

 v. Kimbrell’s, Inc.

        On November 12, 2021, the FCC delivered to each applicant firm the results of the FCC’s

 evaluation of the firm’s materials in response to the Initial Review. At that time, the FCC notified

 each firm of the hours and expenses that the FCC found to be eligible for consideration as common

 benefit. In accordance with Section D of the Protocol, each firm was given notice of the

 opportunity to be heard by the FCC. The letter provided to each firm was accompanied by a

 revised version of Exhibits A, B, and D reflecting the FCC’s decision to allow or disallow each

 entry based upon the information provided by the applicant firm in its final submission of time and

 expense. The letter provided instructions on how to request an opportunity to be heard by the

 FCC. Of the thirty-seven firms whose time was reviewed, four elected to be heard by the FCC.

 The FCC conducted meetings with representatives of each firm who made a request. The FCC

 conducted meetings in Atlanta, Georgia on December 8, 2021. In accordance with Section C. of



                                                  13
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 41 of 109 PageID #: 142920




 the FCC Order, each firm was permitted to “present the reasons, grounds, and explanation for their

 entitlement to common benefit,” and was generally allowed to be heard by and to discuss with the

 FCC any matter of its choosing during these meetings. The FCC received and considered all of

 the oral presentations of all applicant firms who availed themselves of this opportunity. Based on

 the presentations of firms, the FCC reviewed, and where appropriate, revised the hours or expenses

 considered for common benefit. Additionally, the FCC met and discussed the presentation of firms

 in light of the value that each firm contributed to the litigation. At the conclusion of the meetings,

 the FCC finalized the number of hours and amount of expenses for its preliminary

 recommendation.

        The FCC met on January 19, 2022, via Zoom for the purpose of finalizing its allocation of

 funds available for compensation of common benefit. In so doing, the FCC relied upon its detailed

 knowledge and understanding of the work performed throughout the process of thoroughly

 reviewing each firm’s time and expense submissions, affidavits, additional written materials, and

 meetings with firms. The FCC also relied upon the collective personal knowledge and experience

 of its members in this litigation and the input received from other leadership within the litigation.

 The process of allocating the potential fund was not a new process for the FCC, rather it was the

 continuation of the process that began with the entry of the FCC Order. The FCC met again on

 March 3, 2022, via Zoom to complete its discussion of the allocation of potential funds for common

 benefit awards. At the request of the FCC, the Chairperson proposed a series of awards utilizing

 a percentage of the funds for each of the applicant firms. The FCC then addressed each of the

 firms individually and discussed whether the proposed percentage award was appropriate. The

 percentage value assigned to each firm was then adjusted to reflect the decision of the FCC for

 each firm. Some adjustments were upwards, some downwards and some remained unchanged. In



                                                  14
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 42 of 109 PageID #: 142921




 discussing an appropriate percentage for the applicant firms, the FCC was again guided by their

 experience and familiarity with the litigation, the nature and value of the work performed, the FCC

 Order and the FCC Protocol with focus being given to the items enumerated in Section C of the

 Protocol and the Barber factors. Only FCC members participated in the discussion and decision

 regarding the allocation of common benefit funds. Attorneys who assisted the FCC in its review

 process did not participate in the decision by the FCC regarding allocation of funds to applicant

 firms.

          The FCC did not request any information regarding billing rates utilized by applicant firms.

 The FCC did not apply a formulaic or grid approach whereby an applicant’s recommended

 common benefit award was the sum of points or the product of an “hours x rate x multiplier”

 equation. The FCC observed that the hours submitted by firms varied widely in quality, with some

 applicants submitting significant numbers of hours of no common benefit, while others submitted

 fewer hours that provided substantial benefit to the litigation. The FCC followed its directive

 under the Protocol to focus on (and reward) firms based on their substantive contributions rather

 than the bulk submission of hours.

          Upon the completion of the allocation process, the FCC was unanimous in its agreement

 that the process used throughout the review of time and expense was performed in accordance with

 the Court’s Orders and the applicable legal authority, and the FCC was unanimous in its agreement

 to the amounts allocated to each firm in the Preliminary Written Recommendation. The FCC met

 and collectively approved the materials for distribution of the FCC’s Preliminary Written

 Recommendation during its meeting on March 3, 2022. The FCC reviewed the information being

 delivered to each applicant firm and discussed the Protocol with regard to the Preliminary Written

 Recommendation, the opportunity for objections thereto and the Final Written Recommendation.



                                                  15
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 43 of 109 PageID #: 142922




 The FCC’s Preliminary Written Recommendation was delivered to all applicant firms on March

 4, 2022.

        Applicant firms were permitted to make any objection to the Preliminary Written

 Recommendation on or before March 18, 2022.            Of the thirty-seven firms receiving the

 Preliminary Written Recommendation, the FCC received objections from five firms. The FCC

 considered the written objections of firms and met on March 30, 2022, via Zoom to deliberate and

 discuss the objections. The FCC then continued to confer regarding objections via Zoom, and on

 May 5, 2022, the FCC met to approve the form and content of this Final Written Recommendation.

 Of the five objections two have now been resolved. After due consideration of the remaining

 objections, the FCC unanimously agreed to its proposed allocation of funds for compensation of

 common benefit to each applicant firm as set forth in this Final Written Recommendation.

        The FCC received certain objections from counsel to its Preliminary Written

 Recommendation, which remain unresolved. Generally, the remaining objectors argue that their

 awards are insufficient in light of their contribution. Some objectors took the position that the

 FCC’s recommendations for the members of the FCC were too high, while others commended the

 FCC members for their hard work, dedication, and the value they added to the litigation. The FCC

 members’ firms contribution to the common benefit of the litigation continued to provide the

 majority of common benefit time and value. Often, objectors claimed to have performed the same

 work as was performed by other applicant firms. In reviewing the objections, and preparing this

 Final Written Recommendation, the FCC revisited its preliminary recommendations with an eye

 toward ensuring compliance with the Courts directives in the applicable pretrial orders, with

 careful attention paid to recommending awards on a firm-by-firm basis that reflected as accurately

 as possible the value provided by that firm to MDL claimants.



                                                16
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 44 of 109 PageID #: 142923




        The FCC notes that certain of the remaining objections are preoccupied with the

 computation or comparison of hourly rates that objecting firms calculated in order to subjectively

 compare themselves to other firms. Similarly, certain of the objecting firms attempt to use an

 hourly calculation to compare the compensation of the firm during the prior time period through

 December 21, 2016, with the current period ending December 30, 2020. These objections

 necessarily substitute the objecting firm’s subjective evaluation of the firm’s contribution to the

 common benefit of the litigation in place of the analysis performed by the FCC. The essential crux

 of each such objection is that the firm seeks an increase in its award based on its self-evaluation in

 comparison to other firms, or the firm wishes to re-litigate its dissatisfaction with the Court’s Order

 awarding common benefit from the previous period. The FCC, as discussed in detail in this Final

 Written Recommendation, did not use an hourly rate method in arriving at its percent allocation

 for each applicant firm.

        The overarching theme of the unresolved objections received can be summarized as

 follows: my firm did not receive enough money (either in this period of review or in the prior

 period after exhausting all appeals and the appellate courts’ affirmation that no right of appeal

 exists) and/or another firm (or other firms) received too much money. However, the subjective

 comparisons proffered by the objecting firms are often contradictory, if not self-defeating. It

 readily appears that the objecting firms’ true intent is to substitute their own subjective judgment

 for that of the FCC with respect to the value of their and other firms’ work in the allocation process.

        It was further noted that the remaining objecting firms generally sought to compare their

 effective hourly rate to that which they calculated for other firms (typically those whose rates they

 calculated as being higher than their own). However, in challenging why another firm (or other

 firms) received a higher rate than theirs, several of the objecting firms focused primarily on their



                                                   17
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 45 of 109 PageID #: 142924




 subjective views regarding the quality or value of the work. As required under the FCC Protocol

 when determining the common benefit of time submitted, the FCC considered the skill, reputation

 and experience of each of the individuals who submitted time for each firm, as well as the nature

 and quality of work being performed by each of those individuals.

 4. Legal analysis of common benefit fee allocation process.

        “It is beyond dispute that a court may ‘appoint a committee of plaintiffs’ counsel to

 recommend how to divide up an aggregate fee award.’” In re Vioxx Prods. Liab. Litig., 802 F.

 Supp. 2d 740, 773 (E.D. La. 2011). As recognized in In re Diet Drugs Prods. Liab. Litig., 2003

 WL 21641958, *6 (E.D. Pa. 2003), a committee allocating attorneys’ fees is “well suited” for that

 task where it is “comprised of respected attorneys with in-depth knowledge of the work performed

 throughout the course of . . . the litigation.”; see also, In re Diet Drugs Prods. Liab. Litig., 2002

 WL 32154197, at *23 (E.D. Pa. 2002) (finding it “both more efficient and fairer” to permit a

 committee of counsel involved in the litigation to make an initial attempt at allocating a fee award

 among the applicant counsel, rather than having the court make those determinations in the first

 instance); Vioxx, 802 F. Supp. 2d at 764 (observing that fee committee appointees were “heavily

 involved” in the litigation and thus “had firsthand knowledge of the nature and extent of the

 common benefit work which was done and who did it”); Victor v. Argent Classic Convertible

 Arbitrage Fund L.P., 623 F.3d 82, 90 (2d Cir. 2010) (“Since lead counsel is typically well-

 positioned to weigh the relative merit of other counsel’s contributions, it is neither unusual nor

 inappropriate for courts to consider lead counsel’s proposed allocation of attorneys fees,

 particularly…where the district court retains the ultimate power to review applications and

 allocations and to adjust them where appropriate.”); In re Cathode Ray Tube (CRT) Antitrust Litig.,

 2016 WL 6909680, *2 (N.D.Ca.2016) (“In class actions lead counsel commonly propose the initial



                                                  18
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 46 of 109 PageID #: 142925




 plan of fee allocation since ‘class counsel are the most familiar with the amount of work actually

 contributed by each of the…firms,’ and can assess ‘in a manner that they believe, in good faith,

 reflects the contributions of counsel to the prosecution and settlement of the claims.’”) (Cits.

 omitted).

        “As a general principle, . . . [attorneys’] fees are to be allocated in a manner that reflects

 the relative contribution of the individual firms and attorneys to the overall outcome of the

 litigation.” Diet Drugs, 2003 WL 21641958, at *6. See also, In re Copley Pharmaceutical, Inc.,

 Albuterol Prods. Liab. Litig., 50 F.Supp.2d 1141, 1149-50 (D.Wyo.1999) (“The Court’s research

 reveals that courts unanimously make allocations based ‘upon the quantity and quality of effort

 expended by the attorneys in obtaining the common fund.’”) (Internal cits. omitted); Turner v.

 Murphy Oil USA, Inc., 582 F.Supp.2d 797, 812 (E.D.La.2008) (“This apportionment [of common

 benefit funds among counsel] is largely dependent on an analysis of the amount, nature, and

 significance of the work of each counsel and how it relates to the work of the other counsel.”).

 Consistent with such authority, and as discussed above, the Court instructed in its Order

 Establishing Criteria for Applications to MDL Common Benefit Fund that “the over-arching

 guideline that the FCC must consider [in allocating common benefit attorney’s fees] is the

 contribution of each common benefit attorney to the outcome of the litigation.” (Order Establishing

 Criteria for Applications to MDL Common Benefit Fund, p. 5).

        Stated plainly, the “allocation of fees is not an exact science,” and the methodology used

 may vary, so long as it is designed to produce results that are both fair and reasonable. See Diet

 Drugs, 2003 WL 21641958, at *7, *11. See also, In re Motor Fuel Temperature Sales Practices

 Litig., 2016 WL 4445438, *13 (D.Kan.2016) (“In determining reasonable attorneys’ fees, the

 essential goal ‘is to do rough justice, not to achieve auditing perfection.’”). Because subjective



                                                 19
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 47 of 109 PageID #: 142926




 factors, such as the nature of the work performed, the skill and experience of the counsel doing it,

 and the results achieved are relevant considerations, “some subjectivity is unavoidable in allotting

 common benefit fees.” Vioxx, 802 F. Supp. 2d at 774. “[I]n the real and imperfect world of

 litigation it is an accepted fact that not all work hours are entitled to the same compensation rate.

 The nature of the work, the skill and experience of the party doing the work, and the result achieved

 all factor into the appropriate allocation. How these factors are weighed injects an unavoidable

 amount of subjectivity in the analysis. The best that can be done to assure the validity of the

 analysis is to base the subjectivity quotient on sufficient facts and experience, and to invite

 input from those affected.” Id. (Emphasis added). “With so much money at stake and so much

 time invested by skilled attorneys on valuable common benefit work, it is not surprising that

 disputes exist concerning the proper method and dollar amount of the individual allocations. We

 emphasize, however, that the allocation of fees is not an exact science.” Diet Drugs, 2003 WL

 21641958 at *10-*11.

        The process used in allocating attorneys’ fees generally should also offer the opportunity

 for meaningful input by the fee applicants. Diet Drugs, 2003 WL 21641958 at *6 (noting that

 applicants had the opportunity to object to their proposed fee allocation, meet with the fee

 committee and discuss their objections, suggest revisions before a final recommended allocation

 was determined, and, if still dissatisfied, seek relief from the court).

        The proposed fee allocation in this case plainly satisfies all of the necessary criteria

 discussed in the applicable legal authority, as well as the protocols and procedures established by

 the Court. In their objections to the FCC’s preliminary recommendation, certain of the applicant

 firms have suggested that the FCC was required to utilize a “lodestar” methodology, where the

 hours credited to the firm are multiplied by an hourly rate. Several courts have considered and



                                                   20
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 48 of 109 PageID #: 142927




 rejected similar arguments, and to be clear, the FCC was not required to and did not attempt to

 employ any “lodestar” calculation. See, In re Thirteen Appeals Arising Out of San Juan Dupont

 Plaza Hotel Fire Litig., 56 F.3d 295, 307-08 (1st Cir.1995) (rejecting argument that common fund

 must be allocated among counsel using lodestar method, stating “[W]e hold that in a common fund

 case the district court, in the exercise of discretion, may calculate counsel fees either on a

 percentage of the fund basis or by fashioning a lodestar…. [W]e rule the court below did not err

 in purposing to allocate fees based on the [percentage of fund] method, emphasizing the attorneys’

 ‘relative contribution’ to the creation of the Fund.”); Glaberson v. Comcast Corp., 2016 WL

 6276233 (E.D.Pa. 2016) (observing that in allocation of common fund attorneys’ fees, “a

 mathematical application of a ratio of the firms’ lodestars is not mandated.”) Here, the FCC

 considered the submitted time of counsel for common benefit fee purposes as entitled to allocation

 weight only in relationship to outcome contribution. Not simply how much time an attorney has

 spent and submitted, but whether and how an attorney’s time contributed to the outcome of the

 litigation, has been a consistent, and even primary, focus of the FCC in its analysis and

 recommendation.

          In a similar vein, the dollar-specific allocations recommended by the FCC are not driven

 by mathematical formulation, any more than they are based upon the mere counting of attorney

 hours.    The FCC was charged by the Court with the task of reviewing time and expense

 submissions and accompanying materials from thirty-seven different law firms. As described

 above, a painstaking, detailed review by the FCC of submitted time records was conducted over

 several months. The Initial Review, along with the affidavits and other materials submitted from

 the applicant firms, and the feedback and input from objecting firms, assisted the FCC in analyzing

 inter alia the nature, quantity and duration of the work performed, the identity of the attorneys



                                                 21
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 49 of 109 PageID #: 142928




 performing the work and their respective experience and abilities, and generally how the work

 contributed (or did not contribute) to the overall common benefit of the MDL plaintiffs. As

 outlined in detail above, this review and allocation process that involved hundreds of hours over

 several months was thorough. Each applicant firm was allowed to provide substantive input to the

 process, and to receive feedback from the FCC. While the FCC extensively reviewed the hours

 submitted by every firm and took the approved time into consideration in making its proposed

 allocation, the FCC did not request hourly rates from any firm or attempt to mechanically apply

 any “hours x rate” analysis. See, Vioxx, 802 F.Supp.2d at 773 (“To simply total the hours spent,

 apply an appropriate lodestar factor, and allocate the fee on that basis alone would not be

 appropriate in this case.”). Instead, the FCC reviewed the submitted time and applicant input in

 light of the Court’s directives set forth in the Fee Committee Protocol and prior common benefit

 orders, the ultimate purpose of which is to “evaluat[e] what work and expenses furthered the

 common benefit of the litigation.” (Fee Committee Protocol, p. 10). See, In re Thirteen Appeals

 Arising Out of San Juan Dupont Plaza Hotel Fire Litig., 56 F.3d 295, 307 (1st Cir.1995) (“While

 the time logged is still relevant to the court’s inquiry – even under the [percentage of fund] method,

 time records tend to illuminate the attorney’s role in the creation of the fund, and, thus, inform the

 court’s inquiry into the reasonableness of a particular percentage….”); In re Copley

 Pharmaceutical, Inc., Albuterol Prods. Liab. Litig., 50 F.Supp.2d 1141, 1149-50 (D.Wyo.1999)

 (“[t]he value of time expended with appropriate adjustments may provide a rough starting point

 for assessing the respective roles of counsel, but it should not be used rigidly as a precise measure

 to the exclusion of other intangible factors.”).

        The FCC’s approach in making this proposed allocation is consistent with the allocation

 methodology applied in similar multi-plaintiff product liability settlements. Recently, in In re



                                                    22
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 50 of 109 PageID #: 142929




 Fresenius Granuflo/Naturalyte Dialysate Prods. Liab. Litig., MDL 2428 (“Granuflo”), the court-

 appointed fee committee recommended an allocation to each applicant firm of a percentage of the

 total fee award based on the committee’s experience and the facts submitted, and after receiving

 input from the interested firms. Granuflo, 1:13-md-2428, Doc. 1983 (Memorandum in Support of

 Plaintiff Leadership’s Petition for Award and Allocation of Common Benefit Fees) (D.Mass. Dec.

 12, 2017). The fee committee in Granuflo emphasized in its petition that it did not undertake to

 apply “an unyielding mathematical formula,” which it noted could not account for the multitude

 of subjective differences that must be considered in making such an award, such as the differing

 skills and contributions of the attorneys and varying nature and complexity of the tasks involved.

 (Id., p. 22). The MDL court approved the fee committee’s recommendation. Granuflo, 2018 WL

 2163627 (D.Mass.2018). Similarly, in In re Nuvaring Prods. Liab. Litig., 2014 WL 7271959, *2

 (E.D.Mo.2014) (Order approving recommendation of Special Master’s Recommendation

 Regarding Allocation and Distribution of Common Benefit Fees and Expenses), the Court affirmed

 the Special Master’s recommended allocation of common benefit fees. As noted there, the

 recommended allocations were based on the quality and value of the work performed, not on a

 “lodestar” analysis of rates multiplied by hours. Id. at *6. Likewise, in the In re Yasmin and Yaz

 Prods. Liab. Litig. MDL, the Special Master recommended an allocation based on the quality and

 value of the work to the litigation and resolution and expressly rejected the “lodestar” approach as

 both arbitrary and inappropriate because it would not properly consider the value and quality of

 the work involved. In re Yasmin and Yaz Prods. Liab. Litig., 3:09-md-02100, Doc. 3843 (Special

 Master’s Report and Recommendation Regarding the Allocation and Distribution of Common

 Benefit Fees and Expenses) (S.D.Ill. Nov. 6, 2015), pp. 7-8. The Yaz MDL Judge, the Hon. David

 R. Herndon, adopted the Special Master’s allocation recommendation in its entirety. Id., Doc. 3856



                                                 23
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 51 of 109 PageID #: 142930




 (Minute Order adopting Special Master’s recommended allocation in its entirety) (S.D. Ill. Nov.

 20, 2015).

        In its Recommendation for Fee Allocation filed in In re: Oil Spill by the Oil Rig

 “Deepwater Horizon” in the Gulf of Mexico, on Apr. 20, 2010, MDL 2179, the court-appointed

 Fee Committee stated that it “did not employ a ‘lodestar’ or ‘hourly rate’ approach…. Nor did the

 FCC interpret its task to simply apply a single blended hourly rate to all hours that had been

 submitted in the case.” (In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico,

 on Apr. 20, 2010,2:10-md-2179, Doc. 22628 (Fee and Cost Committee Recommendation for

 Proposed Cost Reimbursements and Fee Allocation) (E.D. La. Apr. 11, 2017), p. 5). The

 Deepwater Horizon committee further explained that it “did not, at any time, assign particular

 ‘rates’, or ‘multipliers’, to a firm’s accepted hours, and then use that to derive the ultimate fee

 recommendation.” Id., p. 7. Instead, “[t]he overarching guideline for the FCC to consider was the

 relative common benefit contribution of each Fee Applicant to the outcome of the litigation….”

 Id., p. 6. Likewise, the Deepwater Horizon Special Master cited to Judge Fallon’s Vioxx opinion,

 noting that “[m]echanically calculating hours and allocating fees solely on that basis would

 incentivize padded hours and diminish the work that truly moved the litigation towards its

 conclusion.” (Deepwater Horizon, Doc. 23574-1 (Special Master’s Recommendation Concerning

 the Allocation of Common Benefit Fees) (Oct. 24, 2017), p. 8 (emphasis added)). The court in

 Deepwater Horizon adopted the Special Master’s recommended allocation. (Id., Doc. 23574

 (Order Adopting Special Master’s Recommendation Concerning the Allocation of Common

 Benefit Fees) ()). See also, In re FEMA Trailer Formaldehyde Prods. Liab. Litig., 2013 WL

 1867117, *4-*15 (E.D.La.2013) (approving MDL fee allocation proposed by PSC and by Special

 Master by percentage of available common benefit fees); In re Prempro Prods. Liab. Litig., 2014



                                                 24
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 52 of 109 PageID #: 142931




 WL 3809101, *1-*2 (E.D. Ark. 2014) (adopting percentage-based common benefit allocation

 recommended by Common Benefit Fee Committee and proposed by Special Master).

 5. Objections claiming lack of “discovery” from FCC.

        Certain of the objecting firms have sought to conduct discovery regarding the FCC’s

 deliberations and complain generally about an alleged lack of “transparency” about the process.

 Initially, as all applicant firms are aware, the Court charged the FCC “with engaging in

 confidential discussions as part of the FCC’s function.” (FCC Order, Section A) (Emphasis

 added). As the Court’s Order recognizes, confidentiality is necessary for the FCC to have candid

 and frank discussions and deliberations about the value and benefit of the contribution of the firms

 involved.

        In In re Genetically Modified Rice Litig., 764 F.3d 864, 872 (8th Cir. 2014), the Eighth

 Circuit considered and rejected a similar objection to a common fund allocation for lack of

 discovery, observing as follows:

        Although the court did not appoint an external auditor or permit discovery, cf. In re
        Diet Drugs, 582 F.3d at 533–34, discovery in connection with fee motions is rarely
        permitted, In re Prudential Ins. Co. Am. Sales Practice Litig., 148 F.3d 283, 338
        (3d Cir.1998), and a “request for attorney’s fees should not result in a second major
        litigation.” Hensley v. Eckerhart, 461 U.S. 424, 437, 103 S.Ct. 1933, 76 L.Ed.2d
        40 (1983).

 In In re Pradaxa (Dabigatran Etexilate) Prods. Liab. Litig., C.A. No. 3:12-md-02385, Doc. 613

 (Case Management Order No. 89 - Denying Motion to Stay and Prohibiting Discovery Relating to

 Common Benefit Fee Determination) (S.D.Ill. Jan. 8, 2015), the Hon. David R. Herndon, an

 experienced MDL Judge, similarly rejected a firm’s (“CDL”) request for discovery regarding a

 common benefit fee allocation. Instructively, Judge Herndon stated there “The Court finds that it

 has imposed appropriate guidelines and ground rules with regard to the common benefit fee

 determination. [The law firm seeking discovery] has not presented the Court with any reason to

                                                 25
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 53 of 109 PageID #: 142932




 doubt the methodology that has been employed, conclude that informal or formal discovery is

 genuinely needed, or doubt the billing information that has been provided to date. Accordingly,

 the Court sees no reason to depart from the principle that discovery in connection with fee motions

 should rarely be permitted.”

        Here, the Court provided detailed guidance and established rules and criteria that have

 governed the FCC’s common benefit allocation process. The facts and information considered by

 the FCC have been provided and explained in detail to every firm that applied for common benefit.

 As detailed above, every applicant firm has been provided substantial information about how their

 work was evaluated, including written explanations regarding the applicant firm’s submitted time

 considered – or not considered – as common benefit, and an opportunity to respond in writing and

 in-person.

        As the Court-Ordered Protocol and this Final Written Recommendation reflect, applicant

 firms were given several opportunities to receive feedback from the FCC about the review and

 allocation process, both in writing and in-person. All applicant firms were allowed to make a

 presentation and/or provide a written submission to the FCC which they felt would establish the

 value of their work and/or their contribution to the common benefit of this MDL. (See, e.g., FCC

 Protocol, Section C (each applicant firm must submit affidavit that “shall forth the reasons,

 grounds and explanation for the firm’s entitlement to common benefit fees.”); FCC Order, Section

 C (“It is the responsibility of the FCC to conduct meetings, at the appropriate time, during which

 any counsel who has submitted an application for common benefit compensation may, at his or

 her discretion, separately appear and present the reasons, grounds, and explanation for their

 entitlement to common benefit fees.”). Likewise, pursuant to Court’s Protocol, the FCC provided

 ample opportunity for applicant firms to provide substantive feedback and input regarding the



                                                 26
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 54 of 109 PageID #: 142933




 process – again, both in-person and in writing – including any input regarding the relative

 contributions or benefit provided by any applicant firm. Not only has every applicant firm had

 multiple opportunities to both provide and receive information and feedback to and from the FCC,

 the Court’s Protocol provides additional opportunities to present objections to the Court-appointed

 External Review Specialist and to the Court. Any complaint about an alleged lack of information

 here is unfounded.

 6. Final Recommended Allocation of Funds:

        Comprised of attorneys whose work spanned the entire litigation, the FCC was well-

 informed of the substantive contributions made by each applicant firm and endeavored to

 appropriately recognize those contributions. The FCC has exhaustively reviewed all of the facts

 and information provided by common benefit applicant firms, has applied the principles and

 complied with the directives established in the Court’s protocol, and relied upon its experience and

 familiarity with the litigation and with the facts, providing multiple opportunities to provide and

 receive input by common benefit applicant firms in writing and in person. After several months

 of deliberations regarding the applications, the FCC reached its recommendations.

        Based on the foregoing, the FCC makes the following observations regarding the

 contribution of each common benefit applicant to the outcome of the litigation and recommends

 the following awards. In making its Final Recommendation, the FCC utilized the following

 method. First, the FCC considered the total anticipated funds available in the MDL common

 benefit fund at the time of the first anticipated distribution by the Court to be approximately

 $33,000,000 (specifically the assumption of $33,484,033.54 was utilized). Using the percentage

 method discussed previously in this Final Written Recommendation, the FCC recommends that

 upon application of the recommended percentages for each applicant firm, the following amounts



                                                 27
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 55 of 109 PageID #: 142934




 should be distributed to each firm. The FCC further anticipates that additional funds will continue

 to be received by the MDL common benefit fund. While the FCC has undertaken only to review

 the period of time from December 21, 2016, through December 30, 2020, in this Final Written

 Recommendation, the FCC has also observed and evaluated whether there was material

 contribution to common benefit in the time submissions beyond December 30, 2020. The FCC’s

 opinion is that there has been no material contribution to common benefit by firms since December

 30, 2020, that would not be adequately compensated by prospective application of the percentages

 recommended in this Final Written Recommendation, and that there is no need for a third period

 of review 7. Because it does not believe a third period of common benefit review is necessary, the

 FCC’s Final Written Recommendation proposes a methodology for the distribution of all common

 benefit funds on hand at this time, and all funds to be received into the MDL common benefit fund

 in the future. In order to discharge its assigned duties on a final basis, the FCC recommends that

 the Court allocate the thirty percent (30%) fund which has presently been held back by the CPA

 in accordance with the percentages set forth below after payment of the expenses identified below.

 The FCC further recommends that with regard to future funds, the Court (1) allocate thirty percent

 (30%) of future funds received in the MDL common benefit fund utilizing the same percentages

 as set forth herein below; and (2) continue to allocate seventy percent (70%) of future funds

 received in the MDL common benefit fund amongst applicant firms utilizing the same percentages

 as set forth in the Court’s July 25, 2019, Allocation Order.

         In accordance with the Fee Committee Protocol, any firm wishing to object to this Final

 Written Recommendation shall deliver its objection within fourteen (14) days of this Final Written


 7
   The FCC notes that the time incurred by FCC members in performing the necessary review of time and
 expense submissions occurred after December 30, 2020. While the FCC’s efforts are contributions to the
 common benefit, the FCC members propose that there be no further period of review for time submissions,
 including those of the FCC members beyond December 30, 2020.

                                                    28
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 56 of 109 PageID #: 142935




 Recommendation. Any objection is limited to ten (10) pages. Upon timely notice to the FCC,

 objections will be considered by the External Review Specialist prior to the External Review

 Specialist’s delivery of his recommended allocation to the Court.

        The FCC recommends that allocation of funds for common benefit be paid as follows:

 Anderson Law Office. Anderson Law Office partner Ben Anderson is a member of the Plaintiffs’
 Steering Committee and served as Co-Lead of the Cook MDL. For the period of December 21,
 2016, through December 30, 2020, the firm aided leadership in the Ethicon MDL in preparing and
 updating general expert reports associated with the MDL Court’s wave process and the Mullins
 consolidation. Based on a complete review of the time and expense records, materials provided by
 the firm, and evaluation of the firm’s overall contribution to the common benefit of the MDLs for
 the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 an allocation of 0.24700%, plus reimbursement of $8,238.77 in expenses.

 Andrus Wagstaff. Andrus Wagstaff partner Amy Wagstaff is a member of the Plaintiffs’ Steering
 Committee, was appointed to serve as Co-Lead Counsel for the Boston Scientific MDL, and was
 appointed as a member of the Executive Committee. For the period of December 21, 2016, through
 December 30, 2020, the firm aided leadership in the Ethicon MDL in deposition preparation,
 depositions and Daubert motion practice involving general experts in the Mullins consolidation.
 As Co-Lead Counsel, Ms. Wagstaff also administered BSC cases moving forward in the MDL
 Court’s wave process. Based on a complete review of the time and expense records, materials
 provided by the firm, and evaluation of the firm’s overall contribution to the MDLs for the period
 of December 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation
 of 0.888000%, plus reimbursement of $29,671.75 in expenses.

 Aylstock, Witkin, Kries & Overholtz, PLLC. Aylstock, Witkin, Kreis & Overholtz, PLLC
 (“AWKO”) was an early participant in the TVM litigation. AWKO began its work in TVM
 litigation in New Jersey as part of the New Jersey Consolidation. Upon formation of the Federal
 MDL, AWKO partner Bryan Aylstock was assigned as one of the three Coordinating Co-Leads in
 the overall TVM MDLs, was a member of the Executive Committee and the Plaintiffs’ Steering
 Committee; and AWKO partner Renee Baggett was assigned to a Co-Lead position in the Ethicon
 MDL and is a member of the Plaintiffs’ Steering Committee. For the period of December 21, 2016,
 through December 30, 2020, the AWKO worked to coordinate the efforts of plaintiffs’ counsel
 and provided information to plaintiffs’ counsel regarding developments in the litigation across
 multiple MDLs. The firm also worked to conduct discovery in the Coloplast MDL under the Hague
 Convention. AWKO partner Renee Baggett also served as a member of the Common Benefit Fee
 and Cost Committee in performing the review of time and expense submissions of firms seeking
 common benefit compensation. Based on a complete review of the time and expense records,
 materials provided by the firm, the firm’s in-person presentation to the Fee Committee, and
 evaluation of the firm’s overall contribution to the common benefit of the MDLs for the period of
 December 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation
 of 10.80000%, plus reimbursement of $84,358.30 in expenses.



                                                29
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 57 of 109 PageID #: 142936




 Blasingame, Burch, Garrard & Ashley, PC. Blasingame, Burch, Garrard & Ashley, PC
 (“BBGA”) helped start the Pelvic Mesh litigation. BBGA partner Henry Garrard was appointed
 by Judge Goodwin to numerous positions, including Coordinating Co-Lead Counsel for all of the
 transvaginal mesh MDLs, Co-Lead Counsel for the Bard MDL, a member of the Executive
 Committee, as well as a member of the Plaintiffs’ Steering Committee. BBGA partner Henry
 Garrard was also appointed as Chairperson of the Common Benefit Fee and Cost Committee.
 BBGA partner Josh Wages was appointed to the Plaintiffs’ Steering Committee. BBGA started
 the TVM litigation that resulted in creating all the MDLs. For the period of December 21, 2016,
 through December 30, 2020, the firm undertook significant work in performing the review of time
 and expense submissions of firms seeking common benefit compensation. BBGA also prepared
 materials for distribution to firms seeking common benefit compensation and drafted the pleadings
 resulting in the successful award of the common benefit fund, the allocation of the common benefit
 fund, and the successful defense of the common benefit award against objections and appeals.
 Additionally, BBGA managed and coordinated the ongoing activities of the MDLs and assisted
 attorneys across the country in handling their cases. Based on a complete review of the time and
 expense records, materials provided by the firm, and evaluation of the firm’s overall contribution
 to the common benefit of the MDLs for the period of December 21, 2016, through December 30,
 2020, the Fee Committee recommends an allocation of 13.65934%, plus reimbursement of
 $467,202.31 in expenses.

 Blizzard & Nabers, LLP. Blizzard & Nabers partner Ed Blizzard is a member of the Plaintiffs’
 Steering Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 performed document review and conducted the deposition of a corporate representative in the
 Coloplast MDL. Based on a complete review of the time and expense records, materials provided
 by the firm, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 an allocation of 0.08600%, plus reimbursement of $2,243.67 in expenses.

 Bossier & Associates, PLLC. The firm worked with members of the Executive Committee and
 in the Bard MDL. For the period of December 21, 2016, through December 30, 2020, the firm
 aided leadership in the development of the Bard Alyte product litigation. The firm performed
 document review, and prepared expert reports for general experts in support of the Bard Alyte
 product litigation. Based on a complete review of the time and expense records, materials provided
 by the firm, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 an allocation of 0.11000%, plus reimbursement of $11,242.94 in expenses.

 Burnett Law Firm. Burnett Law Firm partner Riley Burnett is a Co-lead in the Coloplast and
 Neomedic MDLs, and a member of the Plaintiffs’ Steering Committee. For the period of December
 21, 2016, through December 30, 2020, the firm worked to develop the general liability case in the
 Coloplast MDL including coordination of MDL work assignments, performing document review,
 and taking depositions regarding product design, sales, marketing, regulatory affairs and general
 experts. Burnett Law Firm partner Riley Burnett also served as a member of the Common Benefit
 Fee and Cost Committee in performing the review of time and expense submissions of firms
 seeking common benefit compensation. Based on a complete review of the time and expense
 records, materials provided by the firm, and evaluation of the firm’s overall contribution to the


                                                30
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 58 of 109 PageID #: 142937




 common benefit of the MDLs for the period of December 21, 2016, through December 30, 2020,
 the Fee Committee recommends an allocation of 6.80000%, plus reimbursement of $37,594.84 in
 expenses.

 Carey Danis & Lowe, LLP. For the period of December 21, 2016, through December 30, 2020,
 the firm performed work in state and federal courts for Ethicon cases that benefitted the MDL The
 time and expense submissions of the firm were reviewed by the FCC. Based on a complete review
 of the time and expense records, materials provided by the firm, the firm’s in-person presentation
 to the Fee Committee, and evaluation of the firm’s overall contribution to the common benefit of
 the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 0.20000%.

 Clark, Love & Hutson, G.P. Clark, Love & Hutson, G.P. (“CLH”) performed a leadership role
 in the state and federal transvaginal mesh litigation from its inception. CLH partner Clayton Clark
 was appointed to serve as Co-Lead Counsel for the Boston Scientific MDL, is a member of the
 Executive Committee and the Plaintiffs’ Steering Committee. Clayton Clark was also appointed
 as a member of the Common Benefit Fee and Cost Committee. CLH partner Scott Love is a
 member of the Plaintiffs’ Steering Committee. For the period of December 21, 2016, through
 December 30, 2020, the firm worked significantly in review of time and expense submissions of
 firms seeking common benefit compensation. CLH also aided in the preparation of materials for
 distribution to firms seeking common benefit compensation and the drafting of pleadings resulting
 in the successful award of the common benefit fund, and the allocation of the common benefit
 fund. In addition to contributions to the FCC, CLH continued its leadership of the BSC MDL by
 managing and coordinating the ongoing activities of the MDL and assisting firms with cases in the
 MDL waves. The firm also contributed to the Coloplast MDL through document review,
 preparation of discovery motions, preparation of general expert reports, and the taking of
 depositions of corporate representatives. Based on a complete review of the time and expense
 records, materials provided by the firm, and evaluation of the firm’s overall contribution to the
 common benefit of the MDLs for the period of December 21, 2016, through December 30, 2020,
 the Fee Committee recommends an allocation of 13.15932%, plus reimbursement of $583,616.22
 in expenses.

 Evers Law Group. The firm contributed to the common benefit of the Ethicon MDL. For the
 period of December 21, 2016, through December 30, 2020, the firm performed document review
 at the request of leadership in the Ethicon MDL. Based on a complete review of the time and
 expense records, materials provided by the firm, and evaluation of the firm’s overall contribution
 to the common benefit of the MDLs for the period of December 21, 2016, through December 30,
 2020, the Fee Committee recommends an allocation of 0.14000%.

 Frankovitch, Anetakis, Simon, Decapio & Pearl, LLP. Frankovitch, Anetakis, Simon, Decapio
 & Pearl partner Carl Frankovitch serves as Plaintiffs’ Co-Liaison Counsel and is a member of the
 Plaintiffs’ Steering Committee. Carl Frankovitch also served as a member of the Common Benefit
 Fee and Cost Committee. For the period of December 21, 2016, through December 30, 2020, the
 firm performed work in the FCC by performing the review of time and expense submissions of
 firms seeking common benefit compensation. Based on a complete review of the time and expense
 records, materials provided by the firm, and evaluation of the firm’s overall contribution to the


                                                 31
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 59 of 109 PageID #: 142938




 common benefit of the MDLs for the period of December 21, 2016, through December 30, 2020,
 the Fee Committee recommends an allocation of 3.34000%, plus reimbursement of $34,964.75 in
 expenses.

 Frees & Goss, PLLC. For the period of December 21, 2016, through December 30, 2020, the firm
 seeks recovery only for instances where expenses were incurred but not yet charged or received
 during the prior period of review. These expenses were associated with time that was previously
 found to be compensable as common benefit, but invoices were not received until after the end of
 the prior review period. Based on a complete review of the time and expense records, materials
 provided by the firm, and evaluation of the firm’s overall contribution to the common benefit of
 the MDLs, the Fee Committee recommends reimbursement of $325,359.03 in expenses.

 Hail Law Office. For the period of December 21, 2016, through December 30, 2020, the firm
 performed work in the Coloplast MDL at the request of leadership. The firm primarily performed
 document review and additionally aided in preparation of a general expert report along with
 participation in Daubert briefing related to the general expert. Based on a complete review of the
 time and expense records, materials provided by the firm, and evaluation of the firm’s overall
 contribution to the common benefit of the MDLs for the period of December 21, 2016, through
 December 30, 2020, the Fee Committee recommends an allocation of 0.77000%.

 Keith Miller Butler. For the period of December 21, 2016, through December 30, 2020, the firm
 performed work in its cases in federal courts for Ethicon cases. The time and expense submissions
 of the firm were for work performed in individual cases after the established cutoff time set forth
 by the Fee Committee. Based on a complete review of the time and expense records, materials
 provided by the firm, and evaluation of the firm’s overall contribution to the common benefit of
 the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends that the firm receive no allocation of common benefit funds.

 Kline & Specter, P.C. Kline & Specter former partner Lee B. Balefsky is a member of the
 Plaintiffs’ Steering Committee. For the period of December 21, 2016, through December 30, 2020,
 the firm performed limited work in support of the Coloplast litigation. The firm held a position
 of leadership in the MDL but performed most of its work in the state courts of Pennsylvania. In
 the Philadelphia Mass Tort Program in Pennsylvania State Court, the firm assisted in obtaining
 several successful verdicts against Ethicon, although most of those verdicts came on products
 where Plaintiffs’ verdicts were already obtained either in the MDL or in prior state courts. The
 firm acknowledges that much of the work product used in their state court trials was obtained from
 the MDL, and MDL attorneys – including leadership in the Ethicon MDL, BSC MDL and others
 –also participated in the work-up and trial of those cases. The firm was not an active participant in
 the overall strategy and decision-making of the PSC. The firm has ultimately performed good work
 in representing their individual clients in state court in Pennsylvania. The hours submitted and
 reviewed by the FCC were for work on individual cases in state court. Based on a complete review
 of the time and expense records, materials provided by the firm, and evaluation of the firm’s overall
 contribution to the common benefit of the MDLs for the period of December 21, 2016, through
 December 30, 2020, the Fee Committee recommends an allocation of 3.00000%.

 The Lanier Law Firm. Lanier Law Firm partner Rick Meadow is a member of the Plaintiffs’


                                                  32
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 60 of 109 PageID #: 142939




 Steering Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 performed work relating to Ethicon MDL Wave cases prior to the FCC’s cutoff for consideration
 of common benefit. Based on a complete review of the time and expense records, materials
 provided by the firm, and evaluation of the firm’s overall contribution to the common benefit of
 the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 0.17500%.

 The Law Offices of A. Craig Eiland. For the period of December 21, 2016, through December
 30, 2020, the firm performed work in the development of the AMS MiniArc product litigation at
 the request of leadership. The firm prepared expert reports and conducted depositions in support
 of the MiniArc case development. The firm also worked in the development of expert reports and
 conducting depositions in the Coloplast litigation. Based on a complete review of the time and
 expense records, materials provided by the firm, and evaluation of the firm’s overall contribution
 to the common benefit of the MDLs for the period of December 21, 2016, through December 30,
 2020, the Fee Committee recommends an allocation of 1.19400%, plus reimbursement of
 $14,994.96 in expenses.

 The Law Office of Adam D. Peavy. For the period of December 21, 2016, through December 30,
 2020, the firm performed work in Coloplast MDL. The firm performed document review,
 conducted the deposition of corporate representatives and aided in the preparation of general expert
 reports. Based on a complete review of the time and expense records, materials provided by the
 firm, and evaluation of the firm’s overall contribution to the common benefit of the MDLs for the
 period of December 21, 2016, through December 30, 2020, the Fee Committee recommends an
 allocation of 1.37000%.

 Levin Simes, LLP. For the period of December 21, 2016, through December 30, 2020, the firm
 continued its leadership role in the AMS MDL. The firm prepared general expert reports,
 conducted depositions of AMS corporate witnesses and opposed Daubert motions filed against
 plaintiffs’ expert witnesses. Based on a complete review of the time and expense records, materials
 provided by the firm, and evaluation of the firm’s overall contribution to the common benefit of
 the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 0.75000%, plus reimbursement of $85,162.70 in expenses.

 Lockridge Grindal Nauen. Lockridge Grindal Nauen partner Yvonne Flaherty was appointed to
 the Plaintiffs’ Steering Committee. Yvonne Flaherty also served as a member of the Common
 Benefit Fee and Cost Committee. For the period of December 21, 2016, through December 30,
 2020, the firm contributed work in the FCC by performing the review of time and expense
 submissions of firms seeking common benefit compensation and assisted in other common benefit
 work and activities. Based on a complete review of the time and expense records, materials
 provided by the firm, and evaluation of the firm’s overall contribution to the common benefit of
 the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 3.34000%, plus reimbursement of $60,546.69 in expenses.

 Mazie Slater Katz & Freeman. Mazie Slater Katz & Freeman contributed to the common benefit
 of the Bard and Ethicon MDLs. For the period of December 21, 2016, through December 30,
 2020, the firm performed good work in representing their individual clients in state court in New


                                                 33
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 61 of 109 PageID #: 142940




 Jersey. The firm was one of the first to bring TVM lawsuits and focused almost entirely upon
 litigation in New Jersey state court. In pursuit of the New Jersey litigation, the firm undertook
 discovery, document review, trial preparation and trial. Based on a complete review of the time
 and expense records, materials provided by the firm, and evaluation of the firm’s overall
 contribution to the common benefit of the MDLs for the period of December 21, 2016, through
 December 30, 2020, the Fee Committee recommends an allocation of 4.25000%, plus
 reimbursement of $81,000.00 in expenses.

 Meyers & Flowers, LLC. Meyers & Flowers partner Pete Flowers is a member of the Plaintiffs’
 Steering Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 performed work relating to Ethicon MDL Wave cases prior to the FCC’s cutoff for consideration
 of common benefit. Based on a complete review of the time and expense records, materials
 provided by the firm, and evaluation of the firm’s overall contribution to the common benefit of
 the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 0.06800%.

 The Monsour Law Firm. Monsour Law Firm partner Douglas Monsour is a member of the
 Plaintiffs’ Steering Committee. For the period of December 21, 2016, through December 30, 2020,
 the firm participated in the development of the Coloplast litigation. The firm prepared for and was
 lead in multiple expert depositions in the Coloplast MDL. Based on a complete review of the time
 and expense records, materials provided by the firm, and evaluation of the firm’s overall
 contribution to the common benefit of the MDLs for the period of December 21, 2016, through
 December 30, 2020, the Fee Committee recommends an allocation of 1.04500%, plus
 reimbursement of $5,891.50 in expenses.

 Mostyn Law Firm P.C. Former Mostyn Law Firm partner Steve Mostyn was a Co-lead in the
 Coloplast MDL and was a member of the Plaintiffs’ Steering Committee. For the period of
 December 21, 2016, through December 30, 2020, the firm provided document review and other
 work in the Coloplast MDL. Based on a complete review of the time and expense records, materials
 provided by the firm, and evaluation of the firm’s overall contribution to the common benefit of
 the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 1.60000%, plus reimbursement of $30,570.59 in expenses.

 Motley Rice, LLC. Motley Rice, LLC played an active role in the state and federal litigation of
 transvaginal mesh from its inception. Motley Rice partner Fred Thompson was appointed by Judge
 Goodwin Coordinating Co-Lead for all transvaginal mesh MDLs and as a member of the Plaintiffs’
 Steering Committee and Executive Committee. Motley Rice partner Fidelma Fitzpatrick was
 appointed as Co-Lead Counsel for the AMS MDL and as a member of the Plaintiffs’ Steering
 Committee. Motley Rice partner Joe Rice was appointed as a member of the Common Benefit Fee
 and Cost Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 performed significant work in the AMS and Ethicon MDLs through work with general experts,
 communications to firms regarding the MDL Wave process, organizing MDL experts to assist
 firms with wave cases, and providing updated expert reports and Daubert briefing in the wave
 process. The firm also contributed work in the FCC by performing the review of time and expense
 submissions of firms seeking common benefit compensation. Based on a complete review of the
 time and expense records, materials provided by the firm, the firm’s in-person presentation to the


                                                 34
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 62 of 109 PageID #: 142941




 Fee Committee, and evaluation of the firm’s overall contribution to the common benefit of the
 MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 8.65932%, plus reimbursement of $176,626.47 in expenses.

 Mueller Law Firm. Mueller Law Firm partner Mark Mueller is a member of the Plaintiffs’
 Steering Committee and was Co-Lead of the Coloplast MDL. For the period of December 21,
 2016, through December 30, 2020, the firm had limited time submission relating to appearances
 in Court regarding the Coloplast MDL. Based on a complete review of the time and expense
 records, materials provided by the firm, and evaluation of the firm’s overall contribution to the
 common benefit of the MDLs for the period of December 21, 2016, through December 30, 2020,
 the Fee Committee recommends an allocation of 0.01800%, plus reimbursement of $2,809.75 in
 expenses.

 The Oliver Law Group, P.C. Oliver Law Group partner Alyson Oliver is a member of the
 Plaintiffs’ Steering Committee. For the period of December 21, 2016, through December 30, 2020,
 the firm performed work relating to Ethicon MDL Wave cases prior to the FCC’s cutoff for
 consideration of common benefit. Based on a complete review of the time and expense records,
 materials provided by the firm, and evaluation of the firm’s overall contribution to the common
 benefit of the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee
 Committee recommends an allocation of 0.00600%.

 Perdue & Kidd. Perdue & Kidd contributed to the common benefit of the Boston Scientific,
 Ethicon and Coloplast MDLs. For the period of December 21, 2016, through December 30, 2020,
 the firm assisted in general expert reports in the Boston Scientific and Ethicon MDLs. The firm
 also conducted expert depositions in the Coloplast MDL. Based on a complete review of the time
 and expense records, materials provided by the firm, and evaluation of the firm’s overall
 contribution to the common benefit of the MDLs for the period of December 21, 2016, through
 December 30, 2020, the Fee Committee recommends an allocation of 0.62900%, plus
 reimbursement of $14,220.75 in expenses.

 Potts Law Firm. Potts Law Firm partner Derek Potts is a member of the Plaintiffs’ Steering
 Committee, Executive Committee, and is a Co-Lead Plaintiff’s Counsel in the Bard and Neomedic
 MDLs. For the period of December 21, 2016, through December 30, 2020, the firm continued to
 respond to questions as leadership in the MDL. The firm, at the direction of the MDL Court, acted
 as mediator for cases and successfully aided the resolution of individual cases. Based on a
 complete review of the time and expense records, materials provided by the firm, and evaluation
 of the firm’s overall contribution to the common benefit of the MDLs for the period of December
 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation of 3.84000%,
 plus reimbursement of $62,082.84 in expenses.

 Restaino Law, LLC. The firm performed common benefit work in the Ethicon MDL. For the
 period of December 21, 2016, through December 30, 2020, the firm conducted the deposition of
 defendant’s general experts and aided in the Daubert briefing regarding plaintiffs’ experts in the
 Ethicon MDL. Based on a complete review of the time and expense records, materials provided
 by the firm, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends


                                                35
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 63 of 109 PageID #: 142942




 an allocation of 0.98700%.

 Salim Beasley, L.L.C. Salim Beasley partner Robert Salim is a member of the Plaintiffs’ Steering
 Committee and serves as Co-Lead for the Coloplast MDL. For the period of December 21, 2016,
 through December 30, 2020, the firm generally helped coordinate and oversee the development of
 the Covidien MDL. The firm conducted Coloplast discovery and briefing. Based on a complete
 review of the time and expense records, materials provided by the firm, and evaluation of the firm’s
 overall contribution to the common benefit of the MDLs for the period of December 21, 2016,
 through December 30, 2020, the Fee Committee recommends an allocation of 3.50000%, plus
 reimbursement of $519,242.97 in expenses.

 The Sanders Firm. Sanders Firm partner Victoria Maniatis is a member of Plaintiffs’ Steering
 Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 participated in development of cases in the Mullins consolidation in the Ethicon MDL. Based on
 a complete review of the time and expense records, materials provided by the firm, and evaluation
 of the firm’s overall contribution to the common benefit of the MDLs for the period of December
 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation of 0.05270%.

 Schneider, Wallace, Cottrell, Konecky, LLP. Schneider, Wallace, Cottrell, Konecky partner
 Amy Eskin started litigation against AMS before the creation of the MDL and was named Co-
 Lead of the AMS MDL upon its creation as well as a member of the Executive Committee and the
 Plaintiffs’ Steering Committee. For the period of December 21, 2016, through December 30, 2020,
 Amy Eskin continued her leadership role in the AMS MDL. Ms. Eskin responded to questions
 from firms with cases placed in the MDL Waves, assigned coverage of depositions, and opposed
 Daubert motions filed against plaintiffs’ expert witnesses. Based on a complete review of the time
 and expense records, materials provided by the firm, and evaluation of the firm’s overall
 contribution to the common benefit of the MDLs for the period of December 21, 2016, through
 December 30, 2020, the Fee Committee recommends an allocation of 0.06900%.

 Schroeder Law Office. Schroeder Law Office partner Karen H. Beyea-Schroeder is a member of
 the Plaintiffs’ Steering Committee and Co-Lead of the Neomedic MDL For the period of
 December 21, 2016, through December 30, 2020, the firm continued its leadership role in the
 Neomedic MDL and also handled the privilege and redaction log in the Boston Scientific MDL at
 the request of leadership. Ms. Beyea-Schroeder’s time in working with the Burnett Law Firm in
 Coloplast was considered as part of the award made to Burnett Law Firm. Based on a complete
 review of the time, materials provided by the firm, and evaluation of the firm’s overall contribution
 to the common benefit of the MDLs for the period of December 21, 2016, through December 30,
 2020, the Fee Committee recommends an allocation of 0.11000%.

 Wagstaff & Cartmell, LLP. Wagstaff & Cartmell partner Tom Cartmell was appointed as
 member of the Executive Committee, the Plaintiffs’ Steering Committee and Co-Lead Counsel for
 the Ethicon litigation. Wagstaff & Cartmell partner Jeff Kuntz served as the leader of the Ethicon
 Expert and Bellwether Committees during the Ethicon MDL. Wagstaff & Cartmell partner Tom
 Cartmell was also appointed as a member of the Common Benefit Fee and Cost Committee. For
 the period of December 21, 2016, through December 30, 2020, the firm contributed to the AMS,
 Coloplast and Ethicon MDLs. In the AMS MDL, the firm updated general expert reports for use


                                                  36
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 64 of 109 PageID #: 142943




 in the MDL Court’s Wave process. In Coloplast, the firm conducted document review, preparation
 of expert reports and the conduct of depositions of Coloplast corporate representatives. In Ethicon,
 the firm continued to provide leadership support for plaintiffs in the MDL Court’s Wave process.
 The firm updated expert reports, defended Daubert motions filed against plaintiffs’ general experts
 and conducted depositions including the preparation of the Mullins consolidation. The firm also
 contributed work in the FCC by performing the review of time and expense submissions of firms
 seeking common benefit compensation. Based on a complete review of the time and expense
 records, materials provided by the firm, and evaluation of the firm’s overall contribution to the
 common benefit of the MDLs for the period of December 21, 2016, through December 30, 2020,
 the Fee Committee recommends an allocation of 13.15932%, plus reimbursement of $229,768.56
 in expenses.

 Watts Guerra, LLP. For the period of December 21, 2016, through December 30, 2020, the firm
 performed work relating to Ethicon MDL Wave cases prior to the FCC’s cutoff for consideration
 of common benefit. Based on a complete review of the time and expense records, materials
 provided by the firm, and evaluation of the firm’s overall contribution to the common benefit of
 the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 0.00800%.

 Wexler Wallace, LLP. Wexler Wallace partner Ed Wallace is a member of the Plaintiffs’ Steering
 Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 contributed to the common benefit in the AMS and Ethicon MDLs. In both the AMS and Ethicon
 MDLs, the firm performed work related to general expert defense including updated general expert
 reports, depositions and Daubert briefing. The firm also provided appellate briefing support for an
 MDL bellwether case whose verdict pre-dated the review period, and provided briefing support to
 another firm for its appellate case without fee interest. Based on a complete review of the time
 and expense records, materials provided by the firm, the firm’s presentation to the Fee Committee,
 and evaluation of the firm’s overall contribution to the common benefit of the MDLs for the period
 of December 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation
 of 1.97000%.




                                                 37
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 65 of 109 PageID #: 142944




                                      38
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 66 of 109 PageID #: 142945




      FCC’s Final Written Recommendation



                Exhibit A
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 67 of 109 PageID #: 142946




                IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION



   IN RE: C.R. BARD, INC., PELVIC REPAIR                        MDL NO. 2187
   SYSTEM PRODUCTS LIABILITY LITIGATION

   IN RE: AMERICAN MEDICAL SYSTEMS, INC.                        MDL No. 2325
   PELVIC REPAIR SYSTEMS PRODUCTS
   LIABIILITY LITIGATION

   IN RE: BOSTON SCIENTIFIC CORP., PELVIC                       MDL No. 2326
   REPAIR SYSTEM PRODUCTS LIABILITY LITIGATION

   IN RE: ETHICON, INC., PELVIC REPAIR SYSTEM                   MDL No. 2327
   PRODUCTS LIABILITY LITIGATION

   IN RE: COLOPLAST CORP., PELVIC REPAIR                        MDL No. 2387
   SYSTEM PRODUCTS LIABILITY LITIGATION

   IN RE: COOK MEDICAL, INC, PELVIC REPAIR                      MDL No. 2440
   SYSTEM PRODUCTS LIABILITY LITIGATION

   IN RE NEOMEDIC PELVIC REPAIR SYSTEM                          MDL No. 2511
   PRODUCT LIABILITY LITIGATION

   This Document Relates To All Cases



                    Declaration of Henry G. Garrard, III in Support of
      Final Written Recommendation of the Common Benefit Fee and Cost Committee
    Concerning the Allocation of Common Benefit Fees and the Reimbursement of Shared
                                  Expenses and Held Costs
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 68 of 109 PageID #: 142947




         On this day came the undersigned, Henry G. Garrard, III, who, pursuant to 18 U.S.C. §

  1746, makes this declaration under penalty of perjury:

  1.     Never before in the history of MDL practice has the JPML sent multiple, large-scale

         product liability MDLs involving different products and manufacturers to a single MDL

         court for inter-MDL coordinated proceedings.

  2.     The pelvic mesh litigation coordinated before this Court ultimately grew to include more

         than 100,000 filed cases, comprising one of the largest mass tort litigations in history.

  3.     As explained in the Plaintiffs’ Proposed Counsel Organizational Structure, which was

         submitted to the Court on March 17, 2012, the common medical, scientific and legal

         claims and theories, common defenses, and common experts, as well as the presence of

         numerous plaintiffs implanted with different defendants’ products, called for a singular

         “cross-MDL” Plaintiffs’ leadership structure.

  4.     The Proposed Counsel Organizational Structure was vetted and agreed upon by every

         attorney who was included in the proposal.

  5.     The Plaintiffs’ lawyers involved in the litigation from the outset foresaw the onerous task

         that lay ahead and assembled a Plaintiffs’ Steering Committee (“PSC”) of 61 attorneys

         from law firms across the country, who were ultimately appointed and assigned by the

         Court the responsibility of marshaling resources and leading this sprawling litigation

         under a unified leadership structure.

  6.     In the time period applicable to the present Final Written Recommendation, Plaintiffs’

         leadership continued their prior work in moving the MDLs toward conclusion.




                                                  2
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 69 of 109 PageID #: 142948




  7.    MDL leadership continued to provide the support and materials associated with plaintiffs’

        expert witnesses so that cases placed in the MDL Court’s wave process and ultimately

        those cases remanded for trial could satisfy the expert requirements.

  8.    MDL leadership also continued to support firms in the wave process by identifying

        deposition transcripts, relevant documents in support of liability, and briefing materials

        for use by counsel in preparation of individual cases for trial.

  9.    The development of the general liability case regarding the Coloplast products continued

        during the applicable time period including corporate depositions, document review,

        development of expert witnesses, Daubert and dispositive motion briefing, and

        depositions of defendant’s expert witnesses.

  10.   Continuing discovery and development was undertaken during the applicable time period

        with regard to the Mullins consolidation in the Ethicon MDL, the Bard Alyte product and

        the AMS MiniArc product.

  11.   MDL leadership worked at the Court’s direction to aid in the resolution of cases in an

        effort to ensure that those plaintiff’s attorneys with limited numbers of cases received the

        full benefit of MDL leadership’s knowledge and experience when negotiating the

        resolution of their cases.

  12.   MDL leadership appeared in West Virginia to aid in the negotiation and resolution of

        individual cases without charge to any plaintiff.

  13.   The FCC members devoted significant time to the review of time and expense

        submissions for the initial review period through December 20, 2016.

  14.   FCC members along with members of their firms reviewed time and expense

        submissions, met to evaluate the merit of submissions, prepared materials for distribution


                                                 3
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 70 of 109 PageID #: 142949




        to firms and drafted pleadings in support of the Court’s Order establishing the payment

        of common benefit funds including briefing to the Fourth Circuit Court of Appeals and

        the United States Supreme Court.

  15.   In the prior period, ending December 20, 2016, ninety-four law firms submitted more

        than 900,000 hours of time for common benefit consideration, and the Court-appointed

        FCC recognized a total of 679,191.20 of those hours as being for common benefit.

  16.   For the current period of December 21, 2016, through December 30, 2020, the FCC

        received submissions from thirty-seven firms totaling more than 138,000 hours, and the

        Court-appointed FCC recognized a total of 61,646.48 of those hours as being for common

        benefit.

  17.   Over ninety-five percent of cases in these MDLs have reached resolution or otherwise

        been dismissed, which has resulted in approximately $525,000,000 in payments into the

        common benefit fund by Defendants.

  18.   Approximately $490,000,000 has been distributed to firms pursuant to the percentages

        set forth in the Court’s July 25, 2019, Allocation Order, including continuing quarterly

        distribution of seventy percent (70%) of funds received into the common benefit fund

        each calendar quarter since January of 2020.

  19.   At present, there remains a fund of approximately $33,000,000 available for payment of

        common benefit time and expenses for the period of December 21, 2016, through

        December 30, 2020.

  20.   On October 4, 2012, the Court entered its Pretrial Order Regarding Management of

        Timekeeping, Cost Reimbursement and Related Common Benefit Issues.




                                               4
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 71 of 109 PageID #: 142950




  21.   In its Order, the Court set preliminary procedures for attorneys establishing standards for

        maintaining and submitting time and expenses for possible future consideration as

        common benefit and established the account to receive and disburse funds for the

        common benefit of the litigation.

  22.   The Court directed attorneys to submit time and expense records to the Court-appointed

        accountant on a periodic basis of every six weeks beginning November 1, 2012.

  23.   The Court’s October 4, 2012, Order was approved by all members of the PSC and signed

        and submitted by all members of the Plaintiffs’ Executive Committee.

  24.   All Participating Counsel are expressly bound by the terms of the Court’s October 4,

        2012, Order.

  25.   On October 26, 2020, the FCC held its first meeting, by telephone, for the purpose of

        performing the tasks required under the Court’s Orders so as to evaluate the common

        benefit work performed by applicant firms for the period of December 21, 2016, through

        December 30, 2020.

  26.   The FCC held another call on November 2, 2020, to prepare and plan for the upcoming

        time and expense review process.

  27.   The FCC then worked with the Court-appointed accountants during November and

        December of 2020, in advance of the time submission for time and expense through

        December 30, 2020, in order to prepare for the delivery of materials to all firms seeking

        common benefit compensation.

  28.   Upon the deadline for the submission of time and expense for consideration through

        December 30, 2020, the FCC worked with the CPA to oversee the delivery and




                                                 5
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 72 of 109 PageID #: 142951




        compilation of time and expense spreadsheets to each firm seeking compensation on

        January 22, 2021.

  29.   The CPA and the FCC returned to each applicant firm the time and expense

        documentation received by the CPA December 21, 2016, through December 30, 2020.

  30.   Thereafter, each firm had sixty days in which to audit its time and confirm that the time

        and expense submitted was true, accurate, clear, and for the common benefit of the

        litigation.

  31.   Once complete, each firm was to resubmit its time and expense along with an affidavit

        from a senior member of the firm attesting that the time and expenses submitted were for

        common benefit.

  32.   The FCC received the audited time and expense from firms and accompanying affidavits

        in March of 2021.

  33.   The FCC met telephonically on March 25, 2021, to plan the process of reviewing the time

        submissions received from applicant firms.

  34.   The process of the Initial Review under the Protocol for submissions during the period of

        December 21, 2016, through December 30, 2020, began on March 30, 2020.

  35.   The FCC’s methodology in evaluating the submissions of applicant firms follows the

        Protocol and the Court’s prior common benefit orders.

  36.   The FCC’s review of the time and expense submissions and accompanying affidavits was

        conducted in accordance with the fifteen items enumerated in Section B of the Protocol,

        the ten factors identified in Section C of the Protocol (which are the same as the items in

        Section B of the FCC Order), as well as the factors enumerated in Barber v. Kimbrell’s,

        Inc., 577 F.2d 216 (4th Cir. 1978).


                                                 6
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 73 of 109 PageID #: 142952




  37.   The FCC assigned each firm seeking payment of common benefit funds to a panel of

        attorneys who were familiar with the review process, having participated in the review of

        time and expense in the initial submission through December 20, 2016.

  38.   These attorneys worked together to review every time and expense entry received from

        the applicant firms.

  39.   In reviewing the time and expense submissions and affidavits, the reviewers were guided

        by the Protocol and the FCC Order in determining the firm’s contribution to the common

        benefit of the overall litigation.

  40.   The FCC continued to meet during the process of review to discuss and ensure the

        consistent application of the review for each applicant firm’s submission.

  41.   The FCC was assisted in its review process by certain other attorneys who were requested

        to assist the FCC pursuant to Section A of the FCC Order.

  42.   Those attorneys were Amy Collins (Burnett Law Firm), Thomas Hollingsworth

        (Blasingame, Burch, Garrard & Ashley), Diane Watkins (Wagstaff & Cartmell), and

        Michael Moreland (Clark, Love & Hutson). These attorneys assisted the FCC in the

        preparation of materials for FCC meetings.

  43.   Upon commencement of the Initial Review of the time submission by applicant firms, the

        FCC recognized that some firms diligently self-audited their time entries and submitted

        time for review that was substantially compliant with the instructions from the Court

        regarding hours that would be considered as contributing to the common benefit of the

        litigation.




                                                7
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 74 of 109 PageID #: 142953




  44.   Other firms made little or no changes to their time submission during the Court-ordered

        self-audit process, which resulted in submissions for time that did not meet the Court’s

        instructions.

  45.   The elimination of time that clearly did not meet the Court’s criteria for common benefit

        consideration, which should have been identified in the self-audit process, resulted in the

        FCC’s recognition of a relatively lower percentage of submitted hours as common benefit

        for firms that failed to adequately self-audit. Conversely, firms that made a good-faith

        effort to review their time submission during the self-audit period had a higher percentage

        of submitted time recognized as contributing to the common benefit as a result of those

        firms’ diligence.

  46.   The process of reviewing the time and expense submissions made by firms continued

        through April of 2021, with the panel of reviewers meeting in Houston, Texas to perform

        the time and expense reviews on April 6, 7, and 8, 2021.

  47.   The FCC met telephonically on April 15, 2021, to discuss ongoing reviews and ensure

        that all firms were receiving consistent evaluations pursuant to the Protocol.

  48.   The FCC met again on May 18, 2021, in Houston, Texas, for the purpose of discussing

        those firms whose review had been completed by the panel of reviewers assigned the task

        of reviewing time submissions.

  49.   The FCC met again by Zoom on May 27, 2021, June 1, 2021, and July 23, 2021, to

        finalize its discussion and analysis of firms seeking compensation for the period of

        December 21, 2016, through December 30, 2020.

  50.   During these meetings, each firm was thoroughly discussed by the entire FCC.




                                                 8
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 75 of 109 PageID #: 142954




  51.   While the number of FCC meetings was significant, greater time was invested by FCC

        members between meetings. FCC members routinely worked on matters in preparation

        for the next FCC meeting.

  52.   During its meetings from May 18, 2021, through July 23, 2021, the FCC received detailed

        presentations about each firm seeking common benefit compensation.

  53.   The work of the FCC during this period was not simply to determine the number of hours

        that might be considered compensable, but also (and more significantly to the FCC) the

        quality of those hours and the extent such time was of benefit to the litigation.

  54.   As each firm was discussed, the FCC decided which time entries would (at that stage) be

        considered as common benefit, which time entries were deemed of no compensable value,

        and which entries required additional information in order for the FCC to properly

        evaluate the submission.

  55.   Simultaneously, the FCC evaluated the nature of the legal work reflected in the time

        submissions.

  56.   The FCC considered for each firm whether the work for which time was submitted was

        performed by attorneys or non-attorney staff, and the experience and seniority of the

        attorney performing work, as well as whether multiple lawyers or firm members were

        performing the same or similar tasks that could appropriately be handled by a single

        attorney.

  57.   The FCC discussed the nature of the work and the role of the applicant firm as reflected

        in the time submissions, including, for example, whether the firm was engaged in

        document review, expert identification and preparation, written discovery, depositions,

        trials, briefing or appellate work, or settlement negotiation.


                                                 9
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 76 of 109 PageID #: 142955




  58.   With regard to the venue of cases, and in accordance with the Court’s instruction in the

        FCC Protocol, the FCC considered whether trial work was performed within the MDLs

        or in various state courts, and the extent to which it contributed to the outcome of the

        litigation and benefited the MDL.

  59.   In addressing trials, the FCC considered whether a trial was the first successful trial of a

        particular mesh product, whether the trial attorneys created common benefit materials and

        shared such materials with other plaintiffs’ firms within the litigation without

        compensation (and at what point in time that material was shared), and whether the trial

        attorneys consulted with MDL leadership in case selection, trial preparation and trial

        strategy.

  60.   Further, the FCC considered whether a firm participated in a lead role, a back-up role, or

        was simply an observer of the activity in the litigation.

  61.   Despite repeated requests by the FCC, in some instances, the low quality of information

        delivered to the FCC by the applicant firm made it impossible for the FCC to identify any

        common benefit derived from the submitted time.

  62.   The foregoing examples are not meant to be exhaustive but are meant to be illustrative of

        the attention given to each firm during the Initial Review. Throughout the Initial Review,

        the FCC was mindful of the Court’s instruction that “the over-arching guideline that the

        FCC must consider is the contribution of each common benefit attorney to the outcome

        of the litigation.”

  63.   The FCC received time entries totaling more than one hundred thirty-eight thousand

        (138,000) hours.

  64.   The FCC reviewed every time entry from every firm in conducting its Initial Review.


                                                 10
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 77 of 109 PageID #: 142956




  65.   Where the FCC had questions requiring further evaluation of applicant firms, the FCC

        members continued their review and returned at subsequent meetings to respond.

  66.   No applicant firm’s time or expense was approved for distribution to the firm until the

        FCC unanimously approved the time or expense.

  67.   On July 26, 2021, the FCC provided its Initial Review to the applicant firms.

  68.   Each firm received a letter detailing the process utilized by the FCC along with five

        exhibits. Exhibit A identified those time entries where the FCC found that there was no

        basis for an award of compensation for the time. Exhibit B identified those time entries

        requiring more information from the applicant firm. Exhibit C identified the dates beyond

        which the FCC determined that time did not contribute to the common benefit of the

        litigation. Exhibit D identified those expenses sought for reimbursement which were

        allowed by the FCC as common benefit and those expenses which were disallowed by

        the FCC as common benefit. Exhibit E set forth categories of expenses which applicant

        firms were to remove from their submission. A true and correct example of the letter sent

        to each firm is attached hereto as Exhibit 1.

  69.   The letter to each firm instructed the applicant firm how and when to respond and also

        provided the reasons why time was placed on Exhibits A and B for that firm.

  70.   Each letter was unique and tailored to the specific firm providing only those reasons that

        were applicable to the particular firm’s time.

  71.   Firms were to provide an affidavit in the format provided in the Protocol signed by a

        senior firm member setting forth the reasons, grounds and explanation for the Firm’s

        entitlement to common benefit fees under the factors outlined in the FCC Order and in

        the FCC Protocol.


                                                11
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 78 of 109 PageID #: 142957




  72.   Firms were also given the opportunity to provide a response for each time entry that the

        firm believed was placed on Exhibit A or B in error.

  73.   Firms were also to provide a response for each expense entry that the firm believed was

        disallowed on Exhibit D in error.

  74.   For any firm that did not provide a complete response, the FCC contacted firms on

        September 2, 2021, requesting that the applicant firm complete its response.

  75.   After receipt of the responsive materials from the firms, the panel of attorneys working

        with the FCC once again reviewed each time and expense entry for which the applicant

        firm sought reimbursement, as well as the materials provided, in order to further evaluate

        the contribution made by each firm to the common benefit of the litigation.

  76.   The panel of reviewers met, in person, on September 27, 28, and 29, 2021, to review the

        materials provided by firms seeking compensation and to perform subsequent review of

        the time and expense submissions.

  77.   The review process continued during September and October of 2021.

  78.   The FCC met on November 4, 2021, in Atlanta Georgia. During the meeting the FCC

        received presentations regarding the responses received from applicant firms.

  79.   The FCC discussed and decided on whether time submissions placed on Exhibits A and

        B delivered to the firms should be considered as contributing to the common benefit.

  80.   The FCC also discussed and decided on whether expense submissions marked as

        disallowed on Exhibit D delivered to the firms should be considered as reimbursable.

  81.   As discussed above, the FCC’s focus during its review of responses of applicant firms

        was not directed toward a mechanical calculation of the numbers reflected in time and

        expense entries. Rather, the FCC endeavored to analyze the benefit and value of the work


                                                12
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 79 of 109 PageID #: 142958




        reflected in these submissions in light of each firm’s role in the litigation and in

        accordance with the Court’s directives set forth in the common benefit orders, based on

        the FCC’s experience in the litigation and the materials and information submitted by

        each Firm.

  82.   Specifically, the FCC considered the final time and expense submissions and materials

        provided by each firm in light of the items enumerated in Section B of the Protocol, the

        factors enumerated in Section C of the Protocol, and the factors set forth in Barber v.

        Kimbrell’s, Inc.

  83.   On November 12, 2021, the FCC delivered to each applicant firm the results of the FCC’s

        evaluation of the firm’s materials in response to the Initial Review. A true and correct

        example of the letter sent to each firm is attached hereto as Exhibit 2.

  84.   At that time, the FCC notified each firm of the hours and expenses that the FCC found to

        be eligible for consideration as common benefit.

  85.   In accordance with Section D of the Protocol, each firm was given notice of the

        opportunity to be heard by the FCC.

  86.   The letter provided to each firm was accompanied by a revised version of Exhibits A, B,

        and D reflecting the FCC’s decision to allow or disallow each entry based upon the

        information provided by the applicant firm in its final submission of time and expense.

  87.   The letter provided instructions on how to request an opportunity to be heard by the FCC.

  88.   Of the thirty-seven firms whose time was reviewed, four elected to be heard by the FCC.

  89.   The FCC conducted meetings with representatives of each firm who made a request.

  90.   The FCC conducted meetings in Atlanta, Georgia on December 8, 2021.




                                                13
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 80 of 109 PageID #: 142959




  91.   In accordance with Section C. of the FCC Order, each firm was permitted to “present the

        reasons, grounds, and explanation for their entitlement to common benefit,” and was

        generally allowed to be heard by and to discuss with the FCC any matter of its choosing

        during these meetings.

  92.   The FCC received and considered all of the oral presentations of all applicant firms who

        availed themselves of this opportunity.

  93.   Based on the presentations of firms, the FCC reviewed, and where appropriate, revised

        the hours or expenses considered for common benefit.

  94.   Additionally, the FCC met and discussed the presentation of firms in light of the value

        that each firm contributed to the litigation.

  95.   At the conclusion of the meetings with firms, the FCC finalized the number of hours and

        amount of expenses for its preliminary recommendation.

  96.   The FCC met on January 19, 2022, via Zoom for the purpose of finalizing its allocation

        of funds available for compensation of common benefit.

  97.   In so doing, the FCC relied upon its detailed knowledge and understanding of the work

        performed throughout the process of thoroughly reviewing each firm’s time and expense

        submissions, affidavits, additional written materials, and meetings with firms.

  98.   The FCC also relied upon the collective personal knowledge and experience of its

        members in this litigation and the input received from other leadership within the

        litigation.

  99.   The process of allocating the potential fund was not a new process for the FCC, rather it

        was the continuation of the process that began with the entry of the FCC Order.




                                                  14
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 81 of 109 PageID #: 142960




  100.   The FCC met again on March 3, 2022, via Zoom to complete its discussion of the

         allocation of potential funds for common benefit awards.

  101.   At the request of the FCC, the Chairperson proposed a series of awards utilizing a

         percentage of the funds for each of the applicant firms.

  102.   The FCC then addressed each of the firms individually and discussed whether the

         proposed percentage award was appropriate.

  103.   The percentage value assigned to each firm was then adjusted to reflect the decision of

         the FCC for each firm.

  104.   Some adjustments were upwards, some downwards and some remained unchanged.

  105.   In discussing an appropriate percentage for the applicant firms, the FCC was again guided

         by their experience and familiarity with the litigation, the nature and value of the work

         performed, the FCC Order and the FCC Protocol with focus being given to the items

         enumerated in Section C of the Protocol and the Barber factors.

  106.   Only FCC members participated in the discussion and decision regarding the allocation

         of common benefit funds. Attorneys who assisted the FCC in its review process did not

         participate in the decision by the FCC regarding allocation of funds to applicant firms.

  107.   The FCC did not request any information regarding billing rates utilized by applicant

         firms.

  108.   The FCC did not apply a formulaic or grid approach whereby an applicant’s

         recommended common benefit award was the sum of points or the product of an “hours

         x rate x multiplier” equation.




                                                 15
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 82 of 109 PageID #: 142961




  109.   The FCC observed that the hours submitted by firms varied widely in quality, with some

         applicants submitting significant numbers of hours of no common benefit, while others

         submitted fewer hours that provided substantial benefit to the litigation.

  110.   The FCC followed its directive under the Protocol to focus on (and reward) firms based

         on their substantive contributions rather than the bulk submission of hours.

  111.   Upon the completion of the allocation process, the FCC was unanimous in its agreement

         that the process used throughout the review of time and expense was performed in

         accordance with the Court’s Orders and the applicable legal authority, and the FCC was

         unanimous in its agreement to the amounts allocated to each firm in the Preliminary

         Written Recommendation.

  112.   The FCC met and collectively approved the materials for distribution of the FCC’s

         Preliminary Written Recommendation during its meeting on March 3, 2022.

  113.   The FCC reviewed the information being delivered to each applicant firm and discussed

         the Protocol with regard to the Preliminary Written Recommendation, the opportunity for

         objections thereto and the Final Written Recommendation.

  114.   The FCC’s Preliminary Written Recommendation was delivered to all applicant firms on

         March 4, 2022. A true and correct example of the letter sent to each firm is attached hereto

         as Exhibit 3.

  115.   Applicant firms were permitted to make any objection to the Preliminary Written

         Recommendation on or before March 18, 2022.

  116.   Of the thirty-seven firms receiving the Preliminary Written Recommendation, the FCC

         received objections from five firms.




                                                 16
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 83 of 109 PageID #: 142962




  117.   The FCC considered the written objections of firms and met on March 30, 2022, via Zoom

         to deliberate and discuss the objections.

  118.   The FCC made adjustments to some firms’ allocations based upon the objections. The

         FCC communicated the adjustments to objecting firms that received a modified award.

         Two objecting firms accepted the adjusted allocation and agreed to the modification. One

         firm received an adjusted allocation but did not accept the modification.

  119.   The FCC then continued to confer regarding objections via Zoom, and on May 5, 2022,

         the FCC met to approve the form and content of this Final Written Recommendation.

  120.   Of the five objections two have now been resolved.

  121.   The FCC’s Final Written Recommendation includes the FCC’s consideration of the

         objections made to the Preliminary Written Recommendation. In response to those

         objections, the FCC decided to modify some of the awards to firms seeking common

         benefit funds.

  122.   After due consideration of the remaining objections, the FCC unanimously agreed to its

         proposed allocation of funds for compensation of common benefit to each applicant firm

         as set forth in its Final Written Recommendation.

  123.   The FCC was well-informed of the substantive contributions made by each applicant firm

         and endeavored to appropriately recognize those contributions.

  124.   The FCC exhaustively reviewed all of the facts and information provided by common

         benefit applicant firms, applied the principles and complied with the directives

         established in the Court’s protocol, and relied upon its experience and familiarity with

         the litigation and with the facts, providing multiple opportunities to provide and receive

         input by common benefit applicant firms in writing and in person.


                                                 17
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 84 of 109 PageID #: 142963
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 85 of 109 PageID #: 142964




                 Exhibit 1
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 86 of 109 PageID #: 142965




             Henry G. Garrard, III
             hgarrard@bbga.com




             Sent Via E-Mail
             RECIPIENT FIRM CONTACT
             RECIPIENT FIRM NAME
             E-MAIL ADDRESS


             RE:        Transvaginal Mesh MDL Common Benefit Fee and Cost Committee
                        Initial Review of Fee Submission

             Dear RECIPIENT:

             I am writing to you on behalf of the Common Benefit Fee and Cost Committee
             appointed by the Honorable Joseph R. Goodwin with regard to MDL Nos. 2187,
             2325, 2326, 2327, 2387, 2440, and 2511 (the “FCC”). The MDL Court
             previously entered its Order awarding five percent of the gross value of all
             resolved cases for the purpose of payment of common benefit fees and expenses,
             and the Court Ordered that funds be distributed to firms for common benefit fees
             and expenses incurred through December 21, 2016. Payments have been made
             to firms in accordance with the Court’s Orders. In accordance with the Court’s
             instructions, the FCC is now in the process of reviewing submissions from firms
             seeking reimbursement of professional time and expense associated with work
             that was to the common benefit of the MDL litigation in accordance with the Fee
             Committee Protocol established by the Court for the period from December 22,
             2016 through December 30, 2020.The Court’s July 25, 2019, Order required that
             thirty percent (30%) of payments received by the Common Benefit Fund since
             July 25, 2019, be set aside to pay such time and expenses deemed to be eligible
             as common benefit for the period after December 21, 2016. At this time, the FCC
             has completed its Initial Review of your fee and expense submissions.

             There were approximately 140,000 hours and $7 million in expenses submitted
             to the FCC for review for the period of December 22, 2016 through December
             30, 2020. The FCC has carefully reviewed each time and expense submission
             and has met to discuss the contributions made by each firm to the MDL common
             benefit. Where warranted, the FCC has consulted with plaintiffs’ MDL
             leadership regarding the contributions made by each firm to the MDL common
             benefit. All time and expense entries have been evaluated by the FCC under the
             criteria as set forth in the Fee Committee Protocol and the Orders of the Court.
             The time and expenses submitted by the firms who have a member on the FCC
             have been evaluated under the same protocol, rules and criteria. Under the rules
             of the FCC, individual members of the committee cannot discuss your
             submission with you.
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 87 of 109 PageID #: 142966




 You will have the opportunity, if you desire, to discuss any issues you have in accordance with the
 Fee Committee Protocol. You must submit a response to the FCC by affidavit, in accordance with
 the terms of the Court’s Fee Protocol Order.

 Consistent with the Court’s Orders regarding common benefit – as well as applicable case law –
 the number of hours expended by a firm is simply one of numerous factors guiding the FCC’s
 impending recommendations. As you are all aware, the Court has outlined many criteria to apply
 in analyzing the overall contributions of firms and lawyers. Hours claimed are a factor but overall
 contribution in accordance with the court protocol are very important and significant.

 As an initial matter, you submitted XXXX hours to be considered as common benefit time. After
 careful review, the FCC has determined that certain hours that you submitted were not for the
 common benefit. The FCC’s Initial Review has determined that XXXX hours of that total were
 not for the joint and common benefit of plaintiffs and claimants whose claims have been treated
 by the MDL Court as part of the MDL proceedings. See, Exhibit A attached hereto. The reasons
 for the FCC’s reduction of these hours include:

    1. INDIVIDUALIZED EXPLANATIONS WERE PROVIDED FOR PLACEMENT OF
       TIME ENTRIES ON EXHIBIT A.

 If you have an issue with these reductions by the FCC, then include in your final Affidavit reasons
 explaining why you should receive reimbursement from the common benefit fund for those items
 described above. In providing your explanation, you should address why the time “deemed by the
 FCC not to be ‘for the joint and common benefit of plaintiffs and claimants whose claims have
 been treated by this Court as part of these proceedings’” should nevertheless be compensated. See,
 Fee Protocol Order § B, p. 3.

 Additionally, the FCC also reviewed your time submission to identify potential entries where the
 FCC had further questions regarding the time submission. The FCC identified XXXX of your
 time submission as requiring further explanatory information in order to reach its initial review
 decision. Without additional information from you the FCC believes these hours should not be
 recognized as common benefit or should be reduced. See, Exhibit B attached hereto. The FCC
 identified the following issues upon its completion of its initial review of your time:

    1. INDIVIDUALIZED EXPLANATIONS WERE PROVIDED FOR PLACEMENT OF
       TIME ENTRIES ON EXHIBIT B.

 Your Affidavit “shall set forth the reasons, grounds and explanation for the Firm’s entitlement to
 common benefit fees,” for those categories of time identified immediately above.

 The FCC, as a policy, believes that time submissions of fifteen hours or more in a day are per se
 excessive. Additionally, the FCC looked at many tasks where the submitted time is believed to be
 excessive in relation to the task. The time that the FCC included on Exhibit A indicates that in the
 judgment of the FCC and under the Court’s Orders that time was not expended for the common
 benefit of the claimants in the pelvic mesh MDLs. The FCC, as a further policy, believes that all
 time submitted for law clerks was not of value to the common benefit of the claimants in the pelvic
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 88 of 109 PageID #: 142967




 mesh MDLs. There are also date ranges in which the FCC anticipates compensable time will occur.
 Within the exhibits to this letter is a sheet identifying the creation date for each MDL and the end
 date for common benefit work for each MDL. See Exhibit C attached hereto. Time submission
 outside of these date ranges will be evaluated with close scrutiny regarding whether common
 benefit was derived from those entries. As a general proposition, the Committee does not believe
 such time is compensable.

 The FCC, in accordance with the Court’s Orders, has established criteria for the evaluation of
 expense submissions. The FCC has reviewed your expense submission and identifies a total of
 $XXXXX in expenses for potential reimbursement as compensable Common Benefit expenses.
 See, Exhibit D. The FCC determined that certain categories of expense were not expended for the
 common benefit of the claimants in the pelvic mesh MDL’s. Within the exhibits to this letter is a
 sheet identifying those categories of expense that are NOT of common benefit. See Exhibit E
 attached hereto. Generally, the FCC is not recognizing as Common Benefit expenses incurred in
 individual cases nor expenses identified on Exhibit E to this letter. The approach to what will be
 recognized as common benefit expense is being applied to all firms.

 Your final submission should not include requests for reimbursement of expenses identified
 in the attached Exhibit E. Additionally, when time has not been allowed as set forth in
 Exhibit A, expenses related to that time should be removed.

 The FCC membership is familiar with the challenges associated with trial preparation and is aware
 of the operation of a modern law practice. In an effort to address instances of significant
 duplication of time entries by multiple persons on the same date, the FCC has allowed two persons
 from a law firm to bill while not accepting any duplicative entries by greater than two persons per
 firm. This was done as an accommodation to firms. There are many instances where multiple
 people billed for the same task such as “receipt and review” of a document. This is not allowable
 under the Court’s Protocol.

 In accordance with the Court’s Orders, your firm has thirty (30) days from the date of this letter in
 which to review the information accompanying this letter and submit your firm’s final affidavit
 for review. The process for completing your response is as follows:

    1. In the spreadsheets delivered as Exhibits A and B with this letter, a column has been added
       under the heading “Comments From Requesting Firm”. Please add any information or
       explanation you deem significant for the FCC to review in making its final evaluation of
       the time submission. The information provided within this column cannot exceed 75
       characters within any particular cell. This response will be considered your final time
       submission by the FCC.

    2. In the spreadsheet delivered as Exhibit D with this letter, a column has been added under
       the heading “Comments From Requesting Firm”. Please add any information or
       explanation you deem significant for the FCC to review in making its final evaluation of
       the expense submission. The information provided within this column cannot exceed 75
       characters within any particular cell. This response will be considered your final expense
       submission by the FCC.
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 89 of 109 PageID #: 142968




    3. Prepare the affidavit set forth under the Fee Committee Protocol in conformity with Exhibit
       4 set forth in the Protocol Order including your response to the issues identified herein.

    4. Deliver any comments to Exhibits A, B and D, and the affidavit to me as Chairman and to
       the accountant, John Jenkins, within thirty (30) days of receipt of this letter. No other
       submissions will be accepted by the FCC for review. Only the timely delivery of these
       materials will be considered by the FCC.
 As a reminder for firms claiming less than 20,000 hours, you are limited to an affidavit of twenty
 (20) pages, and if you are claiming over 20,000 hours, the limit is twenty-five (25) pages. The
 process identified above gives you the opportunity to provide comment on any time and expense
 identified by the FCC as being not for the common benefit. Completion of the process constitutes
 the delivery of your final time and expense in accordance with the Fee Committee Protocol.

 Upon timely submission of the required materials, you may request an in-person meeting between
 a representative of your firm and the FCC in which there will be an opportunity to be heard on all
 matters concerning the final submission of time and expenses by your firm. Should you choose to
 do so, you will be expected to present on issues identified by the FCC regarding the compensability
 of the time and expenses submitted by your firm. Please be aware that as a result of any meeting
 with the FCC, the amount of time and expense found to be for the common benefit could be
 increased or reduced for your firm. Additional information on dates and times will be circulated
 after receipt of responses to the Initial Review. If you agree with the FCC’s review of your time,
 you will not need to schedule an in-person meeting.

 After completion of those meetings, the FCC will deliberate and provide its preliminary written
 recommendation to you. In accordance with the Fee Committee Protocol the FCC, in considering
 any fee award, will give appropriate consideration to the experience, talent, and contribution made
 by any eligible attorney or law firm submitting an application for reimbursement of costs and
 apportionment of attorneys’ fees from the MDL Fund for work performed for common benefit.
 The FCC will also give appropriate consideration to the time and effort expended and the type,
 necessity, and value of the particular legal services rendered. In making its recommendations to
 the Court, the over-arching guideline that the FCC will consider is the contribution of each
 common benefit attorney to the outcome of the litigation. The FCC’s task is not to simply apply
 an hourly rate to approved hours. In making its preliminary recommendation for payments to
 firms seeking compensation, the time and expense submitted will be a component, but there are
 other factors that will be considered in accordance with the Court’s Orders regarding
 reimbursement for common benefit work, as well as applicable case law.
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 90 of 109 PageID #: 142969
                     Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 91 of 109 PageID #: 142970
Exhibit C


                                      START DATES - COMMON BENEFIT WORK

                            MDL                              Creation Date                  FCC Cut-Off Date

   C.R. Bard - MDL No. 2187                                 October 12, 2010               September 1, 2015

   AMS - MDL No. 2325                                       February 7, 2012                October 2, 2014

   Boston Scientific - MDL No. 2326                         February 7, 2012                 January 1, 2016

   Ethicon - MDL No. 2327                                   February 7, 2012                 January 1, 2017

   Coloplast - MDL No. 2387                                  August 6, 2012                  June 16, 2014

   Cook - MDL No. 2440                                        June 11, 2013                  June 22, 2016

   Neomedic - MDL No. 2511                                  February 18, 2014              November 30, 2015
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 92 of 109 PageID #: 142971
 Exhibit E


                                 Categories of Expense

        Not for the Joint and Common Benefit of Plaintiffs and Claimants

    1. Plaintiff and spouse travel expenses for deposition
    2. Plaintiff and spouse deposition costs - Transcript/Court reporter
    3. Medical records costs
    4. Court filing fees
    5. Treating physician expenses – Unless during trial
    6. Other individual specific case expenses
             a. Damages only witness expenses
             b. Plaintiffs’ family members travel expenses
             c. Plaintiff specific support witness expenses
             d. Independent Medical Examination client expenses
             e. Medical summary service expenses
             f. Storage of pathology expenses
    7. Expenses of observing filings – PACER / FileServe / LEXIS
             a. Unless you were in leadership – Leads/Co-Leads
    8. Legal research costs – Westlaw / Lexis / Research Costs
             a. Unless you were in leadership – Leads / Co-Leads / Specifically
                assigned a research project by a Lead or Co-Lead
    9. Case specific experts unless deemed by leadership to have been for the
        Common Benefit
    10. Observation of Trial – Except for Leads / Co-Leads
    11. Non-Federal MDL Assessments
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 93 of 109 PageID #: 142972




                 Exhibit 2
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 94 of 109 PageID #: 142973




              Henry G. Garrard, III
              hgarrard@bbga.com




              Sent Via E-Mail
              RECIPIENT FIRM CONTACT
              RECIPIENT FIRM
              E-MAIL ADDRESS

              RE:        Transvaginal Mesh MDL Common Benefit Fee and Cost Committee


              Dear Counsel:

              I am writing to you on behalf of the Common Benefit Fee and Cost Committee
              appointed by the Honorable Joseph R. Goodwin with regard to MDL Nos. 2187,
              2325, 2326, 2327, 2387, 2440, and 2511 (the “FCC”). At this time, the FCC has
              completed its Initial Review of your fee and expense submissions for the period of
              December 22, 2016, through December 30, 2020. Further, the FCC received your
              final time and expense submission as accompanied by your affidavit in accordance
              with the Protocol established by the Court.

              At the time the FCC delivered its initial review, your firm submitted XXXX hours
              of time for consideration as common benefit. The FCC’s initial review identified
              XXXX hours on Exhibit A as not being common benefit, and XXXX hours on
              Exhibit B as having questions regarding common benefit at that time.

              After review and consideration of your Affidavit and revisions or comments in
              Exhibits A and B delivered by your firm, the FCC has determined that XXXX hours
              identified on Exhibit A and XXXX hours on Exhibit B will be eligible for
              consideration as common benefit, thereby increasing your hours for consideration by
              the FCC as common benefit by a total of XXXX hours. The FCC, after its review,
              now identifies a total of XXXX hours for consideration as common benefit time.
              Your Exhibit A and B reflecting those hours eligible for consideration after the FCC
              considered your input are included herewith. Please understand that the number of
              hours under consideration as common benefit is only one part of the evaluation
              process in regard to an award ultimately recommended to the Court. In the Fee
              Committee Protocol there are multiple other factors the FCC is obligated to consider.
              Your Affidavit is helpful to the FCC in that regard.
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 95 of 109 PageID #: 142974




 Additionally, your firm submitted $XXXXX in out-of-pocket expenses for consideration as
 common benefit. The FCC’s initial review identified $XXXXX in expenses for potential
 reimbursement as compensable Common Benefit expenses as reflected in Exhibit D delivered to
 you.

 After review and consideration of your Affidavit and revisions or comments in Exhibit D delivered
 by your firm, the FCC has determined that $XXXXX identified on Exhibit D will be eligible for
 consideration as common benefit. The FCC, after its review, now identifies a total of $XXXXX
 for consideration as common benefit expense. Your Exhibit D reflecting those out-of-pocket
 expenses eligible for consideration after the FCC considered your input are included herewith.

 Generally, the FCC is not recognizing as Common Benefit, expenses incurred in individual cases
 nor expenses identified on Exhibit E to the letter of July 26, 2021, sent to you. Individual case
 expenses, including Wave cases, in normal practice are charged to the individual case at settlement.
 The approach to what will be recognized as common benefit expense is being applied to all firms.

 If you do not wish to further challenge the FCC’s findings with regard to your hours and
 expenses set forth in the preceding paragraphs as recognized by the FCC as common benefit,
 you need take no further action. In accordance with the Fee Committee Protocol, if you wish
 to be heard by the FCC on the number of hours and the amount of expense to be considered
 by the FCC you must notify the FCC on or before Friday, November 19, 2021, via email to
 the FCC Chairperson Henry Garrard at hgarrard@bbga.com. Upon timely notice to the FCC,
 you will be contacted regarding the timing of your meeting with the FCC. The FCC anticipates
 that your meeting with the FCC will take place, in person, in Atlanta, Georgia on December 8th or
 December 9th.
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 96 of 109 PageID #: 142975
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 97 of 109 PageID #: 142976




                 Exhibit 3
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 98 of 109 PageID #: 142977




               Henry G. Garrard, III
               hgarrard@bbga.com


               March 4, 2022

               Sent Via E-Mail
               RECIPIENT FIRM CONTACT
               RECIPIENT FIRM
               E-MAIL ADDRESS

               RE:        Transvaginal Mesh MDL Common Benefit Fee and Cost Committee
                          Preliminary Written Recommendation


               Dear Counsel:

               We are writing to you on behalf of the Common Benefit Fee and Cost Committee
               appointed by the Honorable Joseph R. Goodwin with regard to MDL Nos. 2187,
               2325, 2326, 2327, 2387, 2440, and 2511 (the “FCC”). At this time, the FCC has
               completed its Initial Review of your fee submissions and your final time and
               expense submission as accompanied by your affidavit in accordance with the Fee
               Committee Protocol established by the Court. For those firms who sought an
               opportunity to be heard regarding common benefit fees and expenses, those
               meetings have been completed. There were approximately 120,000 hours submitted
               to the FCC for review. The FCC carefully reviewed each submission and, where
               necessary, met with certain MDL co-leads to discuss the contributions made by
               firms to the MDL common benefit. For those firms that did not object to the hours
               and expense as delivered to you, the FCC deems that you have no objection
               regarding your hours or expenses for consideration.

               The FCC now issues its Preliminary Written Recommendation with regard to the
               allocation of fees and expenses. The FCC currently recommends that your firm
               receive consideration of XXXXX% of the funds withheld pursuant to the prior
               Orders of the Court. Additionally, the FCC currently recommends that your firm
               receive $XXXXX in reimbursement for held expenses that were for the common
               benefit of MDL claimants. Currently we believe $30,000,000.00 will be available
               for payment of common benefit contributions at the time of the distribution. The
               FCC also anticipates an additional amount of approximately $2,650,000.00 will be
               paid for the reimbursement of held costs. The recommended percentage (identified
               above) will be multiplied by the total amount available pursuant to the Court’s
               Allocation Order (30% of all common benefit funds received since July 25, 2019)
               less any amount paid for recognized expenses.
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 99 of 109 PageID #: 142978




 The amounts discussed herein are the FCC’s preliminary recommendation and are subject to
 change prior to the submission of the FCC’s final written recommendation to the external review
 specialist, The Honorable Dan Stack. Please note that all amounts are proposed and are subject to
 the consideration and final decision of the MDL Court. The FCC anticipates that there will be
 subsequent distributions in the future. Pursuant to the MDL Court’s July 25, 2019, Allocation
 Order, 70% of any future funds received will be distributed by the Court in accordance with the
 allocations by the Court made in the Allocation Order. In addition, the FCC anticipates that it will
 request that 30% of any future funds be paid in accordance with the percentages identified in the
 FCC’s Final Written Recommendation. The FCC intends to recommend to the Court that these
 recommended percentages be applied in the future against further funds withheld pursuant to the
 Allocation Order.

 Each firm is receiving the basis for its allocation in accordance with the Fee Committee Protocol.
 Further, in accordance with the Fee Committee Protocol, attached to this letter is the explanation
 of the basis of the allocation for every firm seeking compensation for common benefit. In making
 its Preliminary Written Recommendation, the FCC considered the factors set forth in the Orders
 regarding common benefit, including Section B (Criteria for Common Benefit Applications) of the
 Court’s Order establishing common benefit compensation criteria for each of the firms seeking
 compensation. The FCC previously delivered to you those hours and expenses that the FCC
 identified as being disallowed for purposes of consideration for compensation through its delivery
 of Exhibits A, B and expenses through its delivery of Exhibit D. The number of hours under
 consideration as common benefit was only one part of the evaluation process in regard to the FCC’s
 Preliminary Written Recommendation. Based on the requirements of the Fee Committee Protocol,
 the FCC evaluated each firm using the same criteria and exercised its discretion in evaluating the
 degree to which the work and expense incurred by each firm furthered the common benefit of the
 litigation. To the extent a firm requested an opportunity to be heard by the FCC, the FCC has
 considered the information presented by firms and has incorporated its deliberations and decisions
 into its Preliminary Written Recommendation. Throughout its evaluation, the FCC was primarily
 focused on evaluating the contribution of each common benefit attorney to the outcome of the
 litigation.

 You did not request an opportunity to be heard previously. If you accept the FCC’s
 Preliminary Written Recommendation, you need take no further action. In accordance with
 the Fee Committee Protocol, if you wish to object to the preliminary written
 recommendation, you must notify the FCC on or before March 18, 2022, via email to the
 FCC Chairperson Henry Garrard at hgarrard@bbga.com. Any objection is limited to ten (10)
 pages. Upon timely notice to the FCC, your objection will be considered by the FCC prior to the
 issuance of the final written recommendation by the FCC.
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 100 of 109 PageID #: 142979
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 101 of 109 PageID #: 142980




 Please note that the description of your firm’s activities below identifies only those activities
 for the time period of December 21, 2016, through December 30, 2020. The FCC’s previous
 recommendations included descriptions of activities prior to the current period of review.
 The FCC adopts those prior descriptions without restating them herein.

 Anderson Law Office. Anderson Law Office partner Ben Anderson is a member of the Plaintiffs’
 Steering Committee and served as Co-Lead of the Cook MDL. For the period of December 21,
 2016, through December 30, 2020, the firm aided leadership in the Ethicon MDL in preparing and
 updating general expert reports associated with the MDL Court’s wave process and the Mullins
 consolidation. Based on a complete review of the time and expense records, the Fee Affidavit, and
 evaluation of the firm’s overall contribution to the common benefit of the MDLs for the period of
 December 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation
 of 0.24700%, plus reimbursement of $8,238.77 in expenses.

  Andrus Wagstaff. Andrus Wagstaff partner Amy Wagstaff is a member of the Plaintiffs’
  Steering Committee, was appointed to serve as Co-Lead Counsel for the Boston Scientific MDL,
  and was appointed as a member of the Executive Committee. For the period of December 21,
  2016, through December 30, 2020, the firm aided leadership in the Ethicon MDL in deposition
  preparation, depositions and Daubert motion practice involving general experts in the Mullins
  consolidation. As Co-Lead Counsel, Ms. Wagstaff also administered BSC cases moving forward
  in the MDL Court’s wave process. Based on a complete review of the time and expense records,
  the Fee Affidavit, and evaluation of the firm’s overall contribution to the MDLs for the period of
  December 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation
  of 0.888000%, plus reimbursement of $29,671.75 in expenses.

 Aylstock, Witkin, Kries & Overholtz, PLLC. Aylstock, Witkin, Kreis & Overholtz, PLLC
 (“AWKO”) was an early participant in the TVM litigation. AWKO began its work in TVM
 litigation in New Jersey as part of the New Jersey Consolidation. Upon formation of the Federal
 MDL, AWKO partner Bryan Aylstock was assigned as one of the three Coordinating Co-Leads in
 the overall TVM MDLs, was a member of the Executive Committee and the Plaintiffs’ Steering
 Committee; and AWKO partner Renee Baggett was assigned to a Co-Lead position in the Ethicon
 MDL and is a member of the Plaintiffs’ Steering Committee. For the period of December 21, 2016,
 through December 30, 2020, the AWKO worked to coordinate the efforts of plaintiffs’ counsel
 and provided information to plaintiffs’ counsel regarding developments in the litigation across
 multiple MDLs. The firm also worked to conduct discovery in the Coloplast MDL under the Hague
 Convention. AWKO partner Renee Baggett also served as a member of the Common Benefit Fee
 and Cost Committee in performing the review of time and expense submissions of firms seeking
 common benefit compensation. Based on a complete review of the time and expense records, the
 Fee Affidavit, the firm’s in-person presentation to the Fee Committee, and evaluation of the firm’s
 overall contribution to the common benefit of the MDLs for the period of December 21, 2016,
 through December 30, 2020, the Fee Committee recommends an allocation of 10.80000%, plus
 reimbursement of $84,358.30 in expenses.

 Blasingame, Burch, Garrard & Ashley, PC. Blasingame, Burch, Garrard & Ashley, PC
 (“BBGA”) helped start the Pelvic Mesh litigation. BBGA partner Henry Garrard was appointed
 by Judge Goodwin to numerous positions, including Coordinating Co-Lead Counsel for all of the
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 102 of 109 PageID #: 142981




 transvaginal mesh MDLs, Co-Lead Counsel for the Bard MDL, a member of the Executive
 Committee, as well as a member of the Plaintiffs’ Steering Committee. BBGA partner Henry
 Garrard was also appointed as Chairperson of the Common Benefit Fee and Cost Committee.
 BBGA partner Josh Wages was appointed to the Plaintiffs’ Steering Committee. BBGA started
 the TVM litigation that resulted in creating all the MDLs. For the period of December 21, 2016,
 through December 30, 2020, the firm undertook significant work in performing the review of time
 and expense submissions of firms seeking common benefit compensation. BBGA also prepared
 materials for distribution to firms seeking common benefit compensation and drafted the pleadings
 resulting in the successful award of the common benefit fund, the allocation of the common benefit
 fund, and the successful defense of the common benefit award against objections and appeals.
 Additionally, BBGA managed and coordinated the ongoing activities of the MDLs and assisted
 attorneys across the country in handling their cases. Based on a complete review of the time and
 expense records, the Fee Affidavit, and evaluation of the firm’s overall contribution to the common
 benefit of the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee
 Committee recommends an allocation of 13.86434%, plus reimbursement of $467,202.31 in
 expenses.

 Blizzard & Nabers, LLP. Blizzard & Nabers partner Ed Blizzard is a member of the Plaintiffs’
 Steering Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 performed document review and conducted the deposition of a corporate representative in the
 Coloplast MDL. Based on a complete review of the time and expense records, the Fee Affidavit,
 and evaluation of the firm’s overall contribution to the common benefit of the MDLs for the period
 of December 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation
 of 0.08600%, plus reimbursement of $2,243.67 in expenses.

 Bossier & Associates, PLLC. The firm worked with members of the Executive Committee and
 in the Bard MDL. For the period of December 21, 2016, through December 30, 2020, the firm
 aided leadership in the development of the Bard Alyte product litigation. The firm performed
 document review, and prepared expert reports for general experts in support of the Bard Alyte
 product litigation. Based on a complete review of the time and expense records, the Fee Affidavit,
 and evaluation of the firm’s overall contribution to the common benefit of the MDLs for the period
 of December 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation
 of 0.11000%, plus reimbursement of $11,242.94 in expenses.

 Burnett Law Firm. Burnett Law Firm partner Riley Burnett is a Co-lead in the Coloplast and
 Neomedic MDLs, and a member of the Plaintiffs’ Steering Committee. For the period of December
 21, 2016, through December 30, 2020, the firm worked to develop the general liability case in the
 Coloplast MDL including coordination of MDL work assignments, performing document review,
 and taking depositions regarding product design, sales, marketing, regulatory affairs and general
 experts. Burnett Law Firm partner Riley Burnett also served as a member of the Common Benefit
 Fee and Cost Committee in performing the review of time and expense submissions of firms
 seeking common benefit compensation. Based on a complete review of the time and expense
 records, the Fee Affidavit, and evaluation of the firm’s overall contribution to the common benefit
 of the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 6.80000%, plus reimbursement of $37,594.84 in expenses.
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 103 of 109 PageID #: 142982




 Carey Danis & Lowe, LLP. For the period of December 21, 2016, through December 30, 2020,
 the firm performed work in state and federal courts for Ethicon cases that benefitted the MDL The
 time and expense submissions of the firm were reviewed by the FCC. Based on a complete review
 of the time and expense records, the Fee Affidavit, the firm’s in-person presentation to the Fee
 Committee, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 an allocation of 0.20000%.

 Clark, Love & Hutson, G.P. Clark, Love & Hutson, G.P. (“CLH”) performed a leadership role
 in the state and federal transvaginal mesh litigation from its inception. CLH partner Clayton Clark
 was appointed to serve as Co-Lead Counsel for the Boston Scientific MDL, is a member of the
 Executive Committee and the Plaintiffs’ Steering Committee. Clayton Clark was also appointed
 as a member of the Common Benefit Fee and Cost Committee. CLH partner Scott Love is a
 member of the Plaintiffs’ Steering Committee. For the period of December 21, 2016, through
 December 30, 2020, the firm worked significantly in review of time and expense submissions of
 firms seeking common benefit compensation. CLH also aided in the preparation of materials for
 distribution to firms seeking common benefit compensation and the drafting of pleadings
 resulting in the successful award of the common benefit fund, and the allocation of the common
 benefit fund. In addition to contributions to the FCC, CLH continued its leadership of the BSC
 MDL by managing and coordinating the ongoing activities of the MDL and assisting firms with
 cases in the MDL waves. The firm also contributed to the Coloplast MDL through document
 review, preparation of discovery motions, preparation of general expert reports, and the taking of
 depositions of corporate representatives. Based on a complete review of the time and expense
 records, the Fee Affidavit, and evaluation of the firm’s overall contribution to the common benefit
 of the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee
 Committee recommends an allocation of 13.36432%, plus reimbursement of $583,616.22 in
 expenses.

 Evers Law Group. The firm contributed to the common benefit of the Ethicon MDL. For the
 period of December 21, 2016, through December 30, 2020, the firm performed document review
 at the request of leadership in the Ethicon MDL. Based on a complete review of the time and
 expense records, the Fee Affidavit, and evaluation of the firm’s overall contribution to the common
 benefit of the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee
 Committee recommends an allocation of 0.14000%.

 Frankovitch, Anetakis, Simon, Decapio & Pearl, LLP. Frankovitch, Anetakis, Simon, Decapio
 & Pearl partner Carl Frankovitch serves as Plaintiffs’ Co-Liaison Counsel and is a member of the
 Plaintiffs’ Steering Committee. Carl Frankovitch also served as a member of the Common Benefit
 Fee and Cost Committee. For the period of December 21, 2016, through December 30, 2020, the
 firm performed work in the FCC by performing the review of time and expense submissions of
 firms seeking common benefit compensation. Based on a complete review of the time and expense
 records, the Fee Affidavit, and evaluation of the firm’s overall contribution to the common benefit
 of the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 3.34000%, plus reimbursement of $34,964.75 in expenses.
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 104 of 109 PageID #: 142983




 Frees & Goss, PLLC. For the period of December 21, 2016, through December 30, 2020, the firm
 seeks recovery only for instances where expenses were incurred but not yet charged or received
 during the prior period of review. These expenses were associated with time that was previously
 found to be compensable as common benefit, but invoices were not received until after the end of
 the prior review period. Based on a complete review of the time and expense records, the Fee
 Affidavits, and evaluation of the firm’s overall contribution to the common benefit of the MDLs,
 the Fee Committee recommends reimbursement of $197,290.03 in expenses.

 Hail Law Office. For the period of December 21, 2016, through December 30, 2020, the firm
 performed work in the Coloplast MDL at the request of leadership. The firm primarily performed
 document review and additionally aided in preparation of a general expert report along with
 participation in Daubert briefing related to the general expert. Based on a complete review of the
 time and expense records, the Fee Affidavit, and evaluation of the firm’s overall contribution to
 the common benefit of the MDLs for the period of December 21, 2016, through December 30,
 2020, the Fee Committee recommends an allocation of 0.77000%.

 Keith Miller Butler. For the period of December 21, 2016, through December 30, 2020, the firm
 performed work in its cases in federal courts for Ethicon cases. The time and expense submissions
 of the firm were for work performed in individual cases after the established cutoff time set forth
 by the Fee Committee. Based on a complete review of the time and expense records, the Fee
 Affidavit, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 that the firm receive no allocation of common benefit funds.

 Kline & Specter, P.C. Kline & Specter former partner Lee B. Balefsky is a member of the
 Plaintiffs’ Steering Committee. For the period of December 21, 2016, through December 30, 2020,
 the firm performed limited work in support of the Coloplast litigation. The firm held a position
 of leadership in the MDL but performed most of its work in the state courts of Pennsylvania. In
 the Philadelphia Mass Tort Program in Pennsylvania State Court, the firm assisted in obtaining
 several successful verdicts against Ethicon, although most of those verdicts came on products
 where Plaintiffs’ verdicts were already obtained either in the MDL or in prior state courts. The
 firm acknowledges that much of the work product used in their state court trials was obtained from
 the MDL, and MDL attorneys – including leadership in the Ethicon MDL, BSC MDL and others
 –also participated in the work-up and trial of those cases. The firm was not an active participant in
 the overall strategy and decision-making of the PSC. The firm has ultimately performed good work
 in representing their individual clients in state court in Pennsylvania. The hours submitted and
 reviewed by the FCC were for work on individual cases in state court. Based on a complete review
 of the time and expense records, the Fee Affidavit, and evaluation of the firm’s overall contribution
 to the common benefit of the MDLs for the period of December 21, 2016, through December 30,
 2020, the Fee Committee recommends an allocation of 3.00000%.

 The Lanier Law Firm. Lanier Law Firm partner Rick Meadow is a member of the Plaintiffs’
 Steering Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 performed work relating to Ethicon MDL Wave cases prior to the FCC’s cutoff for consideration
 of common benefit. Based on a complete review of the time and expense records, the Fee
 Affidavit, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 105 of 109 PageID #: 142984




 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 an allocation of 0.17500%.

 The Law Offices of A. Craig Eiland. For the period of December 21, 2016, through December
 30, 2020, the firm performed work in the development of the AMS MiniArc product litigation at
 the request of leadership. The firm prepared expert reports and conducted depositions in support
 of the MiniArc case development. The firm also worked in the development of expert reports and
 conducting depositions in the Coloplast litigation. Based on a complete review of the time and
 expense records, the Fee Affidavit, and evaluation of the firm’s overall contribution to the common
 benefit of the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee
 Committee recommends an allocation of 1.19400%, plus reimbursement of $14,994.96 in
 expenses.

 The Law Office of Adam D. Peavy. For the period of December 21, 2016, through December 30,
 2020, the firm performed work in Coloplast MDL. The firm performed document review,
 conducted the deposition of corporate representatives and aided in the preparation of general expert
 reports. Based on a complete review of the time and expense records, the Fee Affidavit, and
 evaluation of the firm’s overall contribution to the common benefit of the MDLs for the period of
 December 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation
 of 1.37000%.

 Levin Simes, LLP. For the period of December 21, 2016, through December 30, 2020, the firm
 continued its leadership role in the AMS MDL. The firm prepared general expert reports,
 conducted depositions of AMS corporate witnesses and opposed Daubert motions filed against
 plaintiffs’ expert witnesses. Based on a complete review of the time and expense records, the Fee
 Affidavit, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 an allocation of 0.75000%, plus reimbursement of $85,162.70 in expenses.

 Lockridge Grindal Nauen. Lockridge Grindal Nauen partner Yvonne Flaherty was appointed to
 the Plaintiffs’ Steering Committee. Yvonne Flaherty also served as a member of the Common
 Benefit Fee and Cost Committee. For the period of December 21, 2016, through December 30,
 2020, the firm contributed work in the FCC by performing the review of time and expense
 submissions of firms seeking common benefit compensation and assisted in other common benefit
 work and activities. Based on a complete review of the time and expense records, the Fee
 Affidavit, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 an allocation of 3.34000%, plus reimbursement of $60,546.69 in expenses.

 Mazie Slater Katz & Freeman. Mazie Slater Katz & Freeman contributed to the common benefit
 of the Bard and Ethicon MDLs. For the period of December 21, 2016, through December 30,
 2020, the firm performed good work in representing their individual clients in state court in New
 Jersey. The firm was one of the first to bring TVM lawsuits and focused almost entirely upon
 litigation in New Jersey state court. In pursuit of the New Jersey litigation, the firm undertook
 discovery, document review, trial preparation and trial. Based on a complete review of the time
 and expense records, and other submissions and interactions with Adam Slater, and evaluation of
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 106 of 109 PageID #: 142985




 the firm’s overall contribution to the common benefit of the MDLs for the period of December 21,
 2016, through December 30, 2020, the Fee Committee recommends an allocation of 4.25000%.

 Meyers & Flowers, LLC. Meyers & Flowers partner Pete Flowers is a member of the Plaintiffs’
 Steering Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 performed work relating to Ethicon MDL Wave cases prior to the FCC’s cutoff for consideration
 of common benefit. Based on a complete review of the time and expense records, the Fee
 Affidavit, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 an allocation of 0.06800%.

 The Monsour Law Firm. Monsour Law Firm partner Douglas Monsour is a member of the
 Plaintiffs’ Steering Committee. For the period of December 21, 2016, through December 30, 2020,
 the firm participated in the development of the Coloplast litigation. The firm prepared for and was
 lead in multiple expert depositions in the Coloplast MDL. Based on a complete review of the time
 and expense records, the Fee Affidavit, and evaluation of the firm’s overall contribution to the
 common benefit of the MDLs for the period of December 21, 2016, through December 30, 2020,
 the Fee Committee recommends an allocation of 1.04500%, plus reimbursement of $5,891.50 in
 expenses.

 Mostyn Law Firm P.C. Former Mostyn Law Firm partner Steve Mostyn was a Co-lead in the
 Coloplast MDL and was a member of the Plaintiffs’ Steering Committee. For the period of
 December 21, 2016, through December 30, 2020, the firm provided document review and other
 work in the Coloplast MDL. Based on a complete review of the time and expense records, the Fee
 Affidavit, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 an allocation of 1.60000%, plus reimbursement of $30,570.59 in expenses.

 Motley Rice, LLC. Motley Rice, LLC played an active role in the state and federal litigation of
 transvaginal mesh from its inception. Motley Rice partner Fred Thompson was appointed by Judge
 Goodwin Coordinating Co-Lead for all transvaginal mesh MDLs and as a member of the Plaintiffs’
 Steering Committee and Executive Committee. Motley Rice partner Fidelma Fitzpatrick was
 appointed as Co-Lead Counsel for the AMS MDL and as a member of the Plaintiffs’ Steering
 Committee. Motley Rice partner Joe Rice was appointed as a member of the Common Benefit Fee
 and Cost Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 performed significant work in the AMS and Ethicon MDLs through work with general experts,
 communications to firms regarding the MDL Wave process, organizing MDL experts to assist
 firms with wave cases, and providing updated expert reports and Daubert briefing in the wave
 process. The firm also contributed work in the FCC by performing the review of time and expense
 submissions of firms seeking common benefit compensation. Based on a complete review of the
 time and expense records, the Fee Affidavit, the firm’s in-person presentation to the Fee
 Committee, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 an allocation of 8.86432%, plus reimbursement of $176,626.47 in expenses.
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 107 of 109 PageID #: 142986




 Mueller Law Firm. Mueller Law Firm partner Mark Mueller is a member of the Plaintiffs’
 Steering Committee and was Co-Lead of the Coloplast MDL. For the period of December 21,
 2016, through December 30, 2020, the firm had limited time submission relating to appearances
 in Court regarding the Coloplast MDL. Based on a complete review of the time and expense
 records, the Fee Affidavit, and evaluation of the firm’s overall contribution to the common benefit
 of the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 0.01800%, plus reimbursement of $2,809.75 in expenses.

 The Oliver Law Group, P.C. Oliver Law Group partner Alyson Oliver is a member of the
 Plaintiffs’ Steering Committee. For the period of December 21, 2016, through December 30, 2020,
 the firm performed work relating to Ethicon MDL Wave cases prior to the FCC’s cutoff for
 consideration of common benefit. Based on a complete review of the time and expense records,
 the Fee Affidavit, and evaluation of the firm’s overall contribution to the common benefit of the
 MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 0.00600.

 Perdue & Kidd. Perdue & Kidd contributed to the common benefit of the Boston Scientific,
 Ethicon and Coloplast MDLs. For the period of December 21, 2016, through December 30, 2020,
 the firm assisted in general expert reports in the Boston Scientific and Ethicon MDLs. The firm
 also conducted expert depositions in the Coloplast MDL. Based on a complete review of the time
 and expense records, the Fee Affidavit, and evaluation of the firm’s overall contribution to the
 common benefit of the MDLs for the period of December 21, 2016, through December 30, 2020,
 the Fee Committee recommends an allocation of 0.62900%, plus reimbursement of $14,220.75 in
 expenses.

 Potts Law Firm. Potts Law Firm partner Derek Potts is a member of the Plaintiffs’ Steering
 Committee, Executive Committee, and is a Co-Lead Plaintiff’s Counsel in the Bard and Neomedic
 MDLs. For the period of December 21, 2016, through December 30, 2020, the firm continued to
 respond to questions as leadership in the MDL. The firm, at the direction of the MDL Court, acted
 as mediator for cases and successfully aided the resolution of individual cases. Based on a
 complete review of the time and expense records, the Fee Affidavit, and evaluation of the firm’s
 overall contribution to the common benefit of the MDLs for the period of December 21, 2016,
 through December 30, 2020, the Fee Committee recommends an allocation of 3.34000%, plus
 reimbursement of $62,082.84 in expenses.

 Restaino Law, LLC. The firm performed common benefit work in the Ethicon MDL. For the
 period of December 21, 2016, through December 30, 2020, the firm conducted the deposition of
 defendant’s general experts and aided in the Daubert briefing regarding plaintiffs’ experts in the
 Ethicon MDL. Based on a complete review of the time and expense records, the Fee Affidavit, and
 evaluation of the firm’s overall contribution to the common benefit of the MDLs for the period of
 December 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation
 of 0.98700%.

 Salim Beasley, L.L.C. Salim Beasley partner Robert Salim is a member of the Plaintiffs’ Steering
 Committee and serves as Co-Lead for the Coloplast MDL. For the period of December 21, 2016,
 through December 30, 2020, the firm generally helped coordinate and oversee the development of
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 108 of 109 PageID #: 142987




 the Covidien MDL. The firm conducted Coloplast discovery and briefing. Based on a complete
 review of the time and expense records, the Fee Affidavit, and evaluation of the firm’s overall
 contribution to the common benefit of the MDLs for the period of December 21, 2016, through
 December 30, 2020, the Fee Committee recommends an allocation of 3.50000%, plus
 reimbursement of $519,242.97 in expenses.

 The Sanders Firm. Sanders Firm partner Victoria Maniatis is a member of Plaintiffs’ Steering
 Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 participated in development of cases in the Mullins consolidation in the Ethicon MDL. Based on
 a complete review of the time and expense records, the Fee Affidavit, and evaluation of the firm’s
 overall contribution to the common benefit of the MDLs for the period of December 21, 2016,
 through December 30, 2020, the Fee Committee recommends an allocation of 0.05270%.

 Schneider, Wallace, Cottrell, Konecky, LLP. Schneider, Wallace, Cottrell, Konecky partner
 Amy Eskin started litigation against AMS before the creation of the MDL and was named Co-
 Lead of the AMS MDL upon its creation as well as a member of the Executive Committee and the
 Plaintiffs’ Steering Committee. For the period of December 21, 2016, through December 30, 2020,
 Amy Eskin continued her leadership role in the AMS MDL. Ms. Eskin responded to questions
 from firms with cases placed in the MDL Waves, assigned coverage of depositions, and opposed
 Daubert motions filed against plaintiffs’ expert witnesses. Based on a complete review of the time
 and expense records, the Fee Affidavit, and evaluation of the firm’s overall contribution to the
 common benefit of the MDLs for the period of December 21, 2016, through December 30, 2020,
 the Fee Committee recommends an allocation of 0.06900%.

 Schroeder Law Office. Schroeder Law Office partner Karen H. Beyea-Schroeder is a member of
 the Plaintiffs’ Steering Committee and Co-Lead of the Neomedic MDL For the period of
 December 21, 2016, through December 30, 2020, the firm continued its leadership role in the
 Neomedic MDL and also handled the privilege and redaction log in the Boston Scientific MDL at
 the request of leadership. Ms. Beyea-Schroeder’s time in working with the Burnett Law Firm in
 Coloplast was considered as part of the award made to Burnett Law Firm. Based on a complete
 review of the time, the Fee Affidavit, and evaluation of the firm’s overall contribution to the
 common benefit of the MDLs for the period of December 21, 2016, through December 30, 2020,
 the Fee Committee recommends an allocation of 0.11000%.

 Wagstaff & Cartmell, LLP. Wagstaff & Cartmell partner Tom Cartmell was appointed as
 member of the Executive Committee, the Plaintiffs’ Steering Committee and Co-Lead Counsel for
 the Ethicon litigation. Wagstaff & Cartmell partner Jeff Kuntz served as the leader of the Ethicon
 Expert and Bellwether Committees during the Ethicon MDL. Wagstaff & Cartmell partner Tom
 Cartmell was also appointed as a member of the Common Benefit Fee and Cost Committee. For
 the period of December 21, 2016, through December 30, 2020, the firm contributed to the AMS,
 Coloplast and Ethicon MDLs. In the AMS MDL, the firm updated general expert reports for use
 in the MDL Court’s Wave process. In Coloplast, the firm conducted document review, preparation
 of expert reports and the conduct of depositions of Coloplast corporate representatives. In Ethicon,
 the firm continued to provide leadership support for plaintiffs in the MDL Court’s Wave process.
 The firm updated expert reports, defended Daubert motions filed against plaintiffs’ general experts
 and conducted depositions including the preparation of the Mullins consolidation. The firm also
Case 2:10-md-02187 Document 7651 Filed 07/12/22 Page 109 of 109 PageID #: 142988




 contributed work in the FCC by performing the review of time and expense submissions of firms
 seeking common benefit compensation. Based on a complete review of the time and expense
 records, the Fee Affidavit, and evaluation of the firm’s overall contribution to the common benefit
 of the MDLs for the period of December 21, 2016, through December 30, 2020, the Fee Committee
 recommends an allocation of 13.36432%, plus reimbursement of $229,768.56 in expenses.

 Watts Guerra, LLP. For the period of December 21, 2016, through December 30, 2020, the firm
 performed work relating to Ethicon MDL Wave cases prior to the FCC’s cutoff for consideration
 of common benefit. Based on a complete review of the time and expense records, the Fee
 Affidavit, and evaluation of the firm’s overall contribution to the common benefit of the MDLs
 for the period of December 21, 2016, through December 30, 2020, the Fee Committee recommends
 an allocation of 0.00800%.

 Wexler Wallace, LLP. Wexler Wallace partner Ed Wallace is a member of the Plaintiffs’ Steering
 Committee. For the period of December 21, 2016, through December 30, 2020, the firm
 contributed to the common benefit in the AMS and Ethicon MDLs. In both the AMS and Ethicon
 MDLs, the firm performed work related to general expert defense including updated general expert
 reports, depositions and Daubert briefing. The firm also provided appellate briefing support for an
 MDL bellwether case whose verdict pre-dated the review period, and provided briefing support to
 another firm for its appellate case without fee interest. Based on a complete review of the time
 and expense records, the Fee Affidavit, the firm’s in-person presentation to the Fee Committee,
 and evaluation of the firm’s overall contribution to the common benefit of the MDLs for the period
 of December 21, 2016, through December 30, 2020, the Fee Committee recommends an allocation
 of 1.65000%.
